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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK

    In re:                                                                Chapter 15

    NYGARD HOLDINGS (USA) LIMITED, et al.,1                               Case No. 20-10828 (___)

                     Debtors in a Foreign Proceeding.                     Joint Administration Requested


                VERIFIED PETITION UNDER CHAPTER 15 FOR
      RECOGNITION OF A FOREIGN MAIN PROCEEDING AND RELATED RELIEF

             Richter Advisory Group Inc. (“Richter”) is acting solely in its capacity as court-appointed

receiver (and not in its personal or corporate capacity) (the “Receiver”) and authorized foreign

representative (the “Foreign Representative”) of:

                    (a)     Nygard Holdings (USA) Limited (“Holdings”);
                            Nygard Inc. (“Inc.”);
                            Nygard NY Retail, LLC (“NY Retail”); and
                            Fashion Ventures, Inc. (“Fashion”) (collectively, the “U.S. Debtors”); and


1
      T he Debtors in these Chapter 15 cases, along with the last four digits of each Debtor’s U.S. Federal Employer
      Identification Number (“FEIN”) or Canada Revenue Agency Business Registration Number (“CRA”), are:
      Nygard Holdings (USA) Limited (FEIN 3048), Nygard Inc. (FEIN 0509), Nygard NY Retail, LLC (FEIN 1672),
      Fashion Ventures, Inc. (FEIN 0956), Nygard International Partnership (FEIN 1535), Nygard Prop erties Ltd.
      (CRA 0003), Nygard Enterprises Ltd. (FEIN 7127), 4093887 Canada Ltd. (FEIN 1534), 4093879 Canada Ltd.
      (FEIN 1533).
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                 (b)      Nygard International Partnership (“International”);
                          Nygard Properties Ltd. (“Properties”);
                          Nygard Enterprises Ltd. (“Enterprises”);
                          4093887 Canada Ltd. (“4093887”); and
                          4093889 Canada Ltd. (“4093889”) (collectively, the “Canadian Debtors,”

and together with the U.S. Debtors, the “Debtors”).

        Each of the Debtors was placed in a receivership on March 18, 2020 by order (the

“Receivership Order”) of the Court of Queen’s Bench Manitoba (the “Canadian Court”), Court

File No. CI 20-01-26627 (the “Canadian Proceeding”), a certified copy attached as Exhibit A.

        The Foreign Representative respectfully submits this verified petition (the “Verified

Petition”, and together with the Forms of Voluntary Petition [Dkt 1], the “Petition”) seeking entry

of an order pursuant to sections 105(a), 1504, 1507, 1509, 1515, 1517, 1520, and 1521 of title 11,

United States Code (as amended, the “Bankruptcy Code”), substantially in the form attached as

Exhibit B, granting recognition of the Foreign Proceeding as a foreign main proceeding, and

granting related relief. 2

        In support of the Petition, the Foreign Representative respectfully submits the Declaration

of Gilles Benchaya in Support of (I) Verified Petition Under Chapter 15 for Recognition of a

Foreign Main Proceeding and Related Relief and (II) Motion of the Receiver for Provisional Relief

in Aid of a Foreign Main Proceeding (the “Benchaya Declaration”), which has been

contemporaneously filed and is incorporated by reference. In further support of the relief

requested, the Foreign Representative respectfully represents as follows:




2
    References to sections and chapter are references to sections and chapters of the Bankruptcy Code unless
    otherwise stated.


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                                         PRELIMINARY STATEMENT3

        On March 18, 2020, upon the application of White Oak, a lender under the Debtors’ Credit

Facility, Richter was appointed as the Debtors’ Receiver by the Canadian Court. White Oak’s

decision to seek the Receivership Order resulted from a series of defaults under the Credit

Agreement and an overall erosion of confidence in the Debtors and their ability to operate their

businesses. White Oak’s concerns regarding the Debtors were exacerbated when they learned that

Peter Nygard, the Debtors’ principal, had been sued in the Class Action Lawsuit alleging (i) Mr.

Nygard raped and sexually assaulted multiple children and women and (ii) the defendant U.S.

Debtors knowingly aided and abetted him in a decades-long sex-trafficking scheme. Days later,

the Nygard Group’s New York offices were raided by the F.B.I. in connection with such

allegations. The repeated defaults under the Credit Agreement and grave uncertainty regarding

the Debtors’ ability to continue their operations led White Oak to deliver the Debtors, on February

26, 2020, a Demand and Section 244 Notice demanding repayment and advising the Debtors of

White Oak’s intention to enforce against its security. Moreover, given the limited cooperation that

the Lenders and Richter were receiving from the Debtors, White Oak believed that a formal

receivership proceeding under the BIA was essential to bring transparency and supervision to the

Debtors’ financial affairs.

        The Canadian Court has vested Richter, in its capacity as Receiver, with the authority to

manage all the financial aspects of the Debtors’ businesses in order to monetize the Debtors’ assets

and secure repayment for the Debtors’ creditors in a value-maximizing manner.               Richter

anticipates that the Canadian Court will issue further orders that will allow Richter to maximize

the value of the Debtors’ assets, including but not limited to orders authorizing the sale or



3
    Initially capitalized terms in the Preliminary Statement are defined below.


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liquidation of the Debtors’ assets. Specifically, the Foreign Representative anticipates that the

Canadian Court will issue orders directing the sale, liquidation, or other disposition of the Debtors’

assets. Because certain of the Debtors’ assets (including           a distribution   center holding

approximately $13 million of inventory at cost) are within the jurisdiction of the United States, the

Foreign Representative seeks recognition to, among other things, give effect to the orders of the

Canadian Court and obtain a stay of any action against the Debtors’ United States property (except

as hereafter noted).

       The Foreign Representative wishes to make clear from the outset that it does not intend to

interfere with the relief the plaintiffs are seeking in the Class Action Lawsuit, and is not seeking

to stay the Class Action Lawsuit. The Foreign Representative does, however, seek a stay of any

action by the Class Action Lawsuit plaintiffs as judgment creditors, including without limitation

any attempt to record, collect or otherwise enforce any judgment resulting from the Class Action

Lawsuit, absent further order of this Court.

                                         BACKGROUND

       1.      The Debtors, with various non-debtor entities respectively organized under the laws

of the United States of America, Canada, and other jurisdictions (collectively, the “Nygard

Group”), comprise a clothing designer, manufacturer, supplier, and retailer with a head office

located in Winnipeg, Manitoba, Canada, which acts as the “nerve center” of the Debtors’

businesses. Substantially all accounting functions, strategic decision making, communications

functions, marketing and pricing decisions, new business development initiatives, negotiation of

material contracts and leases, IT services, retail, services, design, merchandising, production, and

distribution functions are managed centrally from the head office in Winnipeg. The Nygard Group

also has offices in New York City, Shanghai (where its research and design teams are based), Los




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Angeles, California (where its U.S. logistics operations are based), and Toronto (where its

international sales and marketing team is based). It has three distribution centers located in Los

Angeles (leased), and Toronto and Winnipeg (both owned by Properties). The Nygard Group

sources inventory from third-party garment manufacturers in Jordan, Bangladesh, Indonesia,

Vietnam, and China. The Nygard Group has multiple product lines and fashion brands, including

Peter Nygard Collections, Bianca Nygard, Nygard SLIMS, ALIA, ADX, and TanJay. The Nygard

Group employs approximately 1,450 people worldwide, of whom approximately 100 are located

in the United States. The Nygard Group operates 167 retail stores in Canada and two retail stores

in the United States, and upon information and belief, supplied other retailers such as Dillard’s

Inc. (“Dillard’s”) and Costco Wholesale Canada Ltd. (“Costco”) until recently.

       2.      The Debtors and the other entities comprising the Nygard Group, are 100%

privately owned and controlled by Peter J. Nygard, either directly or through a series of holding

companies.

       3.      The Debtors are parties to that certain credit agreement dated as of December 30,

2019 (the “Credit Agreement”) with (i) Second Avenue Capital Partners, LLC (“Second Avenue”),

as documentation agent and a lender, and (i) White Oak Commercial Finance, LLC (“White Oak,”

and together with Second Avenue, the “Lenders”) as administrative agent and collateral agent and

a lender. Pursuant to the Credit Agreement, among other things, the Lenders agreed to make

formula-based revolving loans to the U.S. Debtors not to exceed $40,000,000, secured by liens or

security interests in substantially all personal property of the U.S. Debtors, and guaranteed by the

Canadian Debtors and secured by substantially all of their personal property and certain real

property located in Canada (the “Credit Facility”). The Credit Agreement is governed by the laws

of the State of New York, and contains a forum selection clause in which the Debtors submitted




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to the jurisdiction of federal and state courts located in New York County, New York, with respect

to any proceedings arising out of or related to the Credit Agreement, and waived objections to the

venue of such courts with respect to such proceedings.

       4.      Almost immediately after closing the Credit Facility, on or about January 3, 2020,

the Debtors committed various events of default under the Credit Agreement, and among other

things, provided the Lenders with cash-flow forecasts and funding requests that contemplated a

cash need that was several millions of dollars in excess of the amount available pursuant to the

Credit Agreement’s borrowing base calculation.

       5.      The Lenders, with the assistance of Richter and despite limited cooperation from

the Debtors and their principal Peter Nygard, made significant efforts to understand the Debtors’

increased funding needs and potential solutions for the Nygard Group’s liquidity crisis.

       6.      In the midst of the foregoing, the Lenders learned that Peter Nygard and several of

the U.S. Debtors had been sued in a class action lawsuit in the United States District Court for the

Southern District of New York captioned Jane Does Nos. 1-10, individually and on behalf of all

others similarly situated v. Peter J. Nygard, Nygard Inc, Nygard International Partnership, and

Nygard Holdings Limited, case no. 1:20-cv-01288 (the “Class Action Lawsuit”). The Class Action

Lawsuit alleges, among other things, that Mr. Nygard raped and sexually assaulted multiple

children and women and that the defendant U.S. Debtors knowingly aided and abetted him in a

decades-long sex-trafficking scheme. The Debtors advised White Oak of the Class Action Lawsuit

nearly one week after its issuance, in breach of the Credit Agreement’s requirement that the Nygard

Group promptly notify White Oak of any litigation that could reasonably be expected to result in

a material adverse effect on the business.




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        7.       One week later, on February 25, 2020, a Federal Bureau of Investigation and New

York Police Department task force raided the Nygard Group’s New York City offices in

connection with an investigation into sex trafficking.      Later that day, Mr. Nygard publicly

announced that he would resign from the Nygard Group and divest his interest therein. The same

day, the Nygard Group’s largest customer, Dillard’s, released a public statement that it had refused

current deliveries, canceled all existing orders, and suspended all future purchases from the Nygard

Group. Dillard’s termination of its relationship with the Nygard Group constituted yet another

event of default under the Credit Agreement.

        8.       On February 26, 2020, White Oak delivered to the Debtors a demand for repayment

and notice of intention to enforce its rights against its security pursuant to section 244 of the

Bankruptcy and Insolvency Act of Canada (the “BIA”) (the “Demand and Section 244 Notice”).

The Demand and Section 244 Notice specified the existing and continuing events of default known

to White Oak and demanded the full payment of the outstanding indebtedness in the amount of

$25,870,783.37. Pursuant to certain security agreements entered into by White Oak and certain of

the Canadian Debtors, White Oak has the right to appoint a receiver upon the occurrence of an

event of default under the Credit Agreement. 4

        9.       On March 18, 2020, the Canadian Court entered the Receivership Order. The

Foreign Representative was appointed as receiver of all assets, undertakings, and properties of the

Debtors pursuant to section 101 of the Courts of Queen’s Bench Act of the Province of Manitoba

and section 243(1) of the BIA. The Receivership Order vests the Foreign Representative with

broad power and control over the Debtors’ assets and businesses, including by granting the Foreign

Representative express and sole authority to control the Debtors’ businesses and administer the



4
    Credit Agreement at § 5.1(a)(i).


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Debtors’ assets. Richter anticipates that the Canadian Court will issue orders that will allow

Richter to monetize the Debtors’ assets in a value-maximizing manner. The Receivership Order

also provides that the Debtors’ creditors are enjoined from taking action against the Debtors and

their assets, wherever located. Receiver Order at ¶ 12-14.

       10.     Notwithstanding the worldwide application of the stay imposed by the Receivership

Order, the Debtors’ creditors may attempt to take enforcement actions against the Debtors’ assets

located within the territorial jurisdiction of the United States or refuse to recognize (or interfere

with) the Foreign Representative’s authority to control, as receiver, the Debtors’ businesses and

administer their assets.

       11.     Accordingly, the Foreign Representative seeks recognition of the Canadian

Proceeding and enforcement of the Receivership Order to obtain the benefit of the automatic stay

and other protections afforded under chapter 15 in relation to the Debtors’ assets located within

the territorial jurisdiction of the United States. Notwithstanding the foregoing, the Foreign

Representative does not seek to stay the Class Action Lawsuit through judgment. The Foreign

Representative does seek a stay, however, subject to the Class Action Lawsuit plaintiffs seeking

relief from this Court, to the extent the Class Action Lawsuit plaintiffs are acting as judgment

creditors, including without limitation attempts to record, collect or otherwise enforce any

judgment resulting from the Class Action Lawsuit.

                                 JURISDICTION AND VENUE

       12.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334

and the Amended Standing Order of Reference to Bankruptcy Judges of the District Court for the

Southern District of New York , dated January 31, 2012 (Preska, C.J.). Recognition of a foreign




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proceeding and other matters under chapter 15 are core proceedings under 28 U.S.C. §

157(b)(2)(P).

       13.      The Foreign Representative, solely in its capacity as authorized foreign

representative, and not in its personal or corporate capacity, consents to the entry of final orders or

judgments by the Court if it is determined that the Court, absent consent of the parties, cannot enter

final orders or judgments consistent with Article III of the United States Constitution.

       14.      Venue is proper in this District pursuant to 28 U.S.C. § 1410(1) and (3). U.S.

Debtor NY Retail is a New York limited liability company with offices and a retail location in

New York, New York. Furthermore, as stated above, the Credit Agreement is governed by New

York law and contains a New York forum selection clause. Credit Agreement §10.14. Moreover,

each of the Debtors has property located in New York consisting of a retainer deposited with

counsel to the Foreign Representative that is being held in a New York bank account for the benefit

of all of the Debtors. See In re Inversora Eléctrica de Buenos Aires S.A., 560 B.R. 650, 655 (Bankr.

S.D.N.Y. 2016) (holding that deposits in a New York bank account, an attorney retainer on deposit

in New York, and New York law-governed debt containing a New York forum selection clause

“whether considered alone or together . . . provide a sufficient basis for jurisdiction and venue in

New York”); In re Suntech Power Holdings Co., Ltd., 520 B.R. 399, 413-16 (Bankr. S.D.N.Y.

2014) (holding that a New York bank account over which a chapter 15 debtor possessed power to

direct disbursement of funds was property sufficient to establish venue for chapter 15 case in New

York). Finally, the Debtors’ U.S. assets also include inventory and equipment located in California

having an estimated cost value in excess of $12 million. Given that the Debtors’ U.S. assets are

located in more than one state, venue in this District is also consistent with the interests of justice

and the convenience of the parties pursuant to 28 U.S.C. § 1410(3).




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       15.     This case has been properly commenced pursuant to sections 1504, 1509, and 1515

by the filing of the Petition. The statutory predicates for the relief requested are sections 105(a),

1504, 1507, 1509, 1515, 1517, 1520, and 1521.

                                     RELIEF REQUESTED

       16.     The Foreign Representative respectfully requests entry of the Proposed Order,

substantially in the form attached as Exhibit B:

               (a)     finding that (i) each of the Debtors is eligible to be a “debtor” under chapter
                       15, (ii) the Canadian Proceeding is a “foreign main proceeding” within the
                       meaning of section 1502, (iii) the Receiver satisfies the requirements of a
                       “foreign representative” under section 101(24), and (iv) the Petition was
                       properly filed and meets the requirements of section 1515;

               (b)     granting recognition of the Canadian Proceeding as a “foreign main
                       proceeding” under sections 1517 and 1520;

               (c)     granting all relief afforded to foreign main proceedings under section 1520;

               (d)     recognizing, granting comity to, and giving full force and effect within the
                       territorial jurisdiction of the United States to the Receivership Order,
                       including any extensions or amendments thereof authorized by the
                       Canadian Court;

               (e)     granting additional relief under sections 1521 and 1507, including for
                       purposes of applying section 365 in these chapter 15 cases; and

               (f)     granting such other related relief as may be necessary and appropriate,
                       including entry of a final decree after entry of the order granting the relief
                       requested herein.

       17.     This court should grant the relief requested because “[c]ourts in the United States

uniformly grant comity to Canadian proceedings.” In re Davis, 191 B.R. 577, 587 (Bankr.

S.D.N.Y. 1996), corrected (Feb. 20, 1996) (granting recognition of proceedings under the BIA in

ancillary cases under former section 304).




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                                       BASIS FOR RELIEF

I.     The Court should Recognize the Canadian Proceeding as a “Foreign Main
       Proceeding”

       18.     The Canadian Proceeding is entitled to recognition as a “foreign main proceeding”

under chapter 15 because, among other things:

               (a)     the Canadian Proceeding is a “foreign proceeding” within the meaning of
                       section 101(23);

               (b)     the Receiver is a “foreign representative” within the meaning of section
                       101(24);

               (c)     the Petition was filed in accordance with sections 1504 and 1509, and meets
                       the requirements of sections 1504 and 1515; and

               (d)     the Debtors’ center of main interests is in Canada.

       a.      The Canadian Proceeding is a “Foreign Proceeding”

       19.     To be recognized under chapter 15, a proceeding must qualify as a “foreign

proceeding.” See 11 U.S.C. § 1517(a). Section 101(23) defines “foreign proceeding” as:

               a collective judicial or administrative proceeding in a foreign country,
               including an interim proceeding, under a law relating to insolvency or
               adjustment of debt in which proceeding the assets and affairs of the debtor
               are subject to control or supervision by a foreign court, for the purpose of
               reorganization or liquidation.

11 U.S.C. § 101(23). The Canadian Proceeding satisfies this definition. The Canadian Proceeding

is a collective judicial proceeding brought in a foreign country (Canada) under the BIA (a federal

Canadian statute relating to insolvency, similar to the Bankruptcy Code) that is supervised by a

foreign court (the Canadian Court) for the purpose of liquidation.     The Canadian Proceeding is

similar to a chapter 7 case under the Bankruptcy Code, as both statutory regimes are designed to

facilitate the orderly liquidation of a debtor, stay individual creditor collection efforts, create a

centralized proceeding to assert and resolve claims against the debtors and their property, and

provide a fair and equitable process for distribution to creditors.


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       20.     United States bankruptcy courts have recognized the comprehensive and collective

nature of BIA proceedings, as well as their striking similarity to chapter 7 cases under the

Bankruptcy Code:

               The BIA contains a comprehensive procedure for the orderly marshalling
               and equitable distribution of a Canadian debtor’s assets which closely
               resembles that available under the [Bankruptcy] Code. For example, the
               principal duties of a trustee under the BIA mirror those imposed upon a
               chapter 7 or 11 trustee under the [Bankruptcy] Code. Likewise, the
               automatic stay under the BIA § 69 is similar to that imposed by § 362 of the
               [Bankruptcy] Code. Like the [Bankruptcy] Code, the BIA recognizes the
               rights of secured creditors to realize on their collateral, protects that
               collateral from the claims of unsecured creditors and preserves the right of
               an undersecured creditor to assert a deficiency claim. It makes provision
               for the avoidance of fraudulent transfers or preferential payments, see BIA
               §§ 95, 96, and contains a comprehensive distribution scheme similar to that
               under the [Bankruptcy] Code.

In re Davis, 191 B.R. at 587; see also In re Fracmaster, Ltd., 237 B.R. 627, 632 n.5 (Bankr. E.D.

Tex. 1999) (“[t]he Bankruptcy and Insolvency Act is the primary federal statute which deals with

insolvency issues under Canadian law. It provides a system under which the creditors of a

bankrupt can pursue their claims by collective action through a trustee, so that the bankrupt’s assets

can be administered and distributed on an equitable basis, subject to the priorities of the preferred

creditors and the rights of secured creditors.”).

       21.     Given the extensive similarities between BIA proceedings and chapter 7 cases,

United States bankruptcy courts, including in this District, routinely recognize BIA proceedings

as “foreign proceedings” under section 101(23). See, e.g., In re Sherson Group Inc., Case No. 15-

11765 (SHL) (Bankr. S.D.N.Y. July 27, 2015); In re Mundo Media Ltd., et al., Case No. 19-11365

(KBO) (Bankr. D. Del. July 11, 2019); In re Unique Broadband Systems Ltd., Case No. 19-11321




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(KG) (Bankr. D. Del. July 8, 2019); In re Axios Logistics Solutions, Inc., Case No. 17-10438 (BLS)

(Bankr. D. Del. Mar. 28, 2017). 5

        b.       The Receiver is the Authorized “Foreign Representative”

        22.      The chapter 15 petition for recognition of a foreign proceeding must be filed by a

foreign representative that is a person or body. See 11 U.S.C. § 1517(a)(2). Section 101(24)

provides:

                 The term “foreign representative” means a person or body, including a
                 person or body appointed on an interim basis, authorized in a foreign
                 proceeding to administer the reorganization or the liquidation of the
                 debtor’s assets or affairs or to act as a representative of such foreign
                 proceeding.

11 U.S.C. § 101(24). Under the Bankruptcy Code, the term “person” includes any “individua l,

partnership, and corporation” that is not a governmental unit. See 11 U.S.C. § 101(41).

        23.      These chapter 15 cases were commenced by the duly appointed “foreign

representative” of the Debtors within the meaning of the Bankruptcy Code. First, the Receiver is

a limited company organized under the laws of Canada, and is not a governmental unit, and

therefore is a “person” within the meaning of the Bankruptcy Code. Second, the Receiver is

authorized in the Canadian Proceeding both to administer the liquidation of the Debtors’ assets

and affairs and to “apply to any court . . . wherever located, for the recognition of [the Receivership

Order] and for assistance in carrying out the terms of [the Receivership Order] . . . .” Receivership

Order ¶ 35-6.



5
    See also In re Thane Int’l, Inc., Case No. 15-12186 (KG) (Bankr. D. Del. Dec. 1, 2015); In re Calmena Energy
    Servs. Inc., et al., Case No. 15-30786 (KKB) (Bankr. S.D. Tex. Mar. 5, 2015); In re Talon Sys. Inc., et al., Case
    No. 13-11811 (KJC) (Bankr D. Del. Aug. 30, 2013); In re Tercon Inv. Ltd., Case No. 13-00015 (HAR) (Bankr.
    D. Alaska Feb. 19, 2013); In re Wellpoint Sys., Inc., et al., Case No. 11-10423 (MFW) (Bankr. D. Del. Feb. 25,
    2011); In re EarthRenew IP Holdings LLC, et al., Case No. 10-13363 (CSS) (Bankr. D. Del. Nov. 10, 2010); In
    re Innua Canada Ltd., et al., Case No. 09-16362 (DHS) (Bankr. D.N.J. Apr. 15, 2009); In re CPI Plastics Grp.
    Ltd., Case No. 09-20175 (JES) (Bankr. E.D. Wis. Feb. 10, 2009).



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       24.     For these reasons, the Receiver qualifies as a “foreign representative” within the

meaning of the Bankruptcy Code.

       c.      The Petition was Properly Filed and Meets all Applicable Requirements of
               the Bankruptcy Code

       25.     To properly commence a chapter 15 case, a foreign representative must file a

petition for recognition of a foreign proceeding under section 1515, and the petition must be

accompanied by (i) a certified copy of the decision commencing the foreign proceeding and

appointing the foreign representative, (ii) a certificate from the foreign court affirming such order

exists, or (iii) other acceptable evidence that the foreign proceeding exists and the foreign

representative has been duly appointed. See 11 U.S.C. § 1515(b). The petition must also be

accompanied by a statement identifying all foreign proceedings with respect to the debtor that are

known to the foreign representative. See 11 U.S.C. § 1515(c). All documents must be in English

or translated into English. See 11 U.S.C. § 1515(d).

       26.     As required by sections 1504 and 1509, the Foreign Representative duly and

properly commenced these chapter 15 cases by filing the Petition under section 1515(a)

accompanied by all documents and information required by subsections (b)-(d). Exhibit B is the

certified copy of the Receivership Order, which is the decision of the Canadian Court commencing

the Canadian Proceeding and appointing the Receiver as foreign representative, thereby satisfying

section 1515(b). A verified statement certifying that the only foreign proceeding of which the

Receiver is aware is the Canadian Proceeding, attached as Exhibit C, which satisfies section

1515(c). Finally, the Receivership Order is in English, thereby satisfying section 1515(d).

       27.     Accordingly,    the Petition was properly filed and satisfies all applica ble

requirements of the Bankruptcy Code.




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        d.       The Canadian Proceeding is a “Foreign Main Proceeding”

        28.      The Canadian Proceeding should be recognized as a “foreign main proceeding,” as

defined in sections 101(23) and 1502(4). A foreign proceeding will be recognized as a foreign

main proceeding if “it is pending in the country where the debtor has the center of its main

interests.” 11 U.S.C. § 1517(b)(1). Section 1516(c) establishes a rebuttable presumption that the

debtor’s registered office is the debtor’s center of main interests (“COMI”). See 11 U.S.C. §

1516(c). When considering a debtor’s COMI, courts may consider the analogous concept of an

entity’s “principal place of business” or “nerve center.” Courts look to factors such as:

                 the location of the debtor's headquarters; the location of those who actually
                 manage the debtor . . . ; the location of the debtor's primary assets; the
                 location of the majority of the debtor’s creditors or of a majority of the
                 creditors who would be affected by the case; and the jurisdiction whose law
                 would apply to most disputes.

In re Inversora Eléctrica de Buenos Aires S.A., 560 B.R. at 654 (internal citations omitted); In re

Fairfield Sentry Ltd., 714 F.3d 127, 130 (2d Cir. 2013). A debtor’s COMI is determined as of the

date the chapter 15 case is commenced. Fairfield Sentry Ltd, 714 F.3d at 134.

        29.      The above factors support a finding that the Debtors’ COMI is Canada. The

Canadian Debtors maintain their registered offices in Canada and are therefore entitled to the

statutory presumption that their COMI is located there. All of the Debtors’ business operations,

financing, and strategic decision-making were all located in, or executed from, Winnipeg,

Manitoba, Canada, as of the date of commencement of these chapter 15 cases. As set forth above,

the strategic and operational “nerve center” of the Debtors, and the entire Nygard Group’s global

operations, is located in Winnipeg.6 Accordingly, at the time the Petition was filed, each Debtor’s

COMI was located in Canada, where the Canadian Proceeding is pending.


6
    In addition, where (as here) chapter 15 debtors are organized under the laws of varying jurisdictions, if
    “Jurisdiction A” is the debtors’ nerve center and the number and degree of activity of the debtors organized under


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II.        The Debtors are Entitled to Automatic Relief under Section 1520

           30.      Section 1520(a) sets forth a series of statutory protections that automatically result

from the recognition of a foreign main proceeding, including the application of the protection

afforded by the automatic stay under section 362(a) to the debtors and their property located within

the territorial jurisdiction of the United States. See 11 U.S.C. § 1520(a). Given that the protections

set forth in section 1520(a) flow automatically from the recognition of a foreign main proceeding

under section 1517, the Foreign Representative respectfully submits that no further showing is

required to the extent the Court recognizes the Canadian Proceeding as a foreign main proceeding.

III.       Additional Relief is Appropriate

           31.      Section 1521 provides, in relevant part, that the court may grant a foreign

representative “any appropriate relief,” including “any relief that may be available to a trustee,”

subject to certain limitations (which do not apply here) where necessary to effectuate the purpose

of chapter 15 and to protect the debtor’s assets and creditors’ interests. 11 U.S.C. § 1521(a); see

In re Rede Energia S.A., 515 B.R. 69, 91 (Bankr. S.D.N.Y. 2014) (citing In re Bear Stearns High-

Grade Structured Credit Strategies Master Fund, Ltd., 389 B.R. 325, 333-34 (S.D.N.Y. 2008))

(noting that chapter 15 empowers “courts with broad, flexible rules to fashion relief that is

appropriate to effectuate the objectives of the chapter in accordance with comity.”); see also In re

SPhinX, Ltd., 351 B.R. 103, 112 (Bankr. S.D.N.Y. 2006) (“chapter 15 maintains – and in some

respects enhances – the ‘maximum flexibility’ . . . that section 304 provided bankruptcy courts in




       the laws of Jurisdiction A is greater than the number and degree of activity of those debtors that are not, the COMI
       of all debtors is Jurisdiction A. See, e.g., In re Catalyst Paper Corp., Case No. 12-10221 (PJW) (Bankr. D. Del.
       Jan. 17, 2012) (Hr’g Tr. 28:14-20) (Walsh, J.): “[r]egarding the COMI issue, I’ve seen practically the same
       scenario at least on two other occasions in the last few years where the number and activity of the Canadian
       debtors outweighs the number and activity of the United States debtors, and where the shots that are called come
       out of Canada, not the United States. And I think it’s a very conventional recognition that I’ll approve.”).



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handling ancillary cases in light of principles of international comity and respect for the laws and

judgments of other nations.”) (internal citations omitted). As this Court has explained,

                 While recognition of the foreign proceeding turns on the objective criteria
                 under § 1517, relief [post-recognition] is largely discretionary and turns on
                 subjective factors that embody principles of comity. Once a case is
                 recognized as a foreign main proceeding, chapter 15 specifically
                 contemplates that the court will exercise its discretion consistent with the
                 principles of comity.

In re Sino-Forest Corp., 501 B.R. 655, 664 (Bankr. S.D.N.Y. 2013) (internal citations and

quotations omitted). Here, the Court should exercise its discretion under sections 1507 and 1521,

consistent with the principles of comity, to recognize and enforce the Canadian Proceeding and

the Recognition Order. 7

        32.      The Foreign Representative requests relief under section 1521 to protect the

Debtors’ assets located within the territorial jurisdiction of the United States, including:

                 (a)      staying the commencement or continuation of an individual action or
                          proceeding concerning the Debtors’ assets, rights, obligations or liabilit ies
                          to the extent they have not been stayed under section 1520(a) (including as
                          it may relate to the Class Action Lawsuit as set forth herein);

                 (b)      staying execution against the Debtors’ assets to the extent it has not been
                          stayed under section 1520(a);

                 (c)      suspending the right to transfer, encumber, or otherwise dispose of any
                          assets of the Debtors to the extent this right has not been suspended under
                          section 1520(a);

                 (d)      providing for the examination of witnesses, the taking of evidence, or the
                          delivery of information concerning the Debtors’ assets, affairs, rights,
                          obligations, or liabilities;

                 (e)      entrusting the administration or realization of all or part of the Debtors’
                          assets within the territorial jurisdiction of the United States to the Foreign
                          Representative authorized by the Court;

7
    The relief requested herein is also consistent with section 1525(a), which provides that “[c]onsistent with section
    1501, the court shall cooperate to the maximum extent possible with a foreign court or a foreign representative,
    either directly or through the trustee.” 11 U.S.C. § 1525(a).



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               (f)     extending relief granted under section 1519(a); and

               (g)     granting any additional relief that may be available to a trustee, except for
                       relief available under sections 522, 544, 545, 547, 548, 550, and 724(a).

       33.     In particular, the Foreign Representative requests applying section 365 to the

Debtors under section 1521(a)(7). Section 365 prevents counterparties from terminating their

contracts or halting performance as a result of the debtor’s insolvency.     See, e.g., In re Lehman

Bros. Holdings Inc., 422 B.R. 407, 414 (Bankr. S.D.N.Y. 2010) (explaining that section 365

invalidates provisions of law or contract which specify that a bankruptcy filing per se will

terminate or modify the contract). Here, application of section 365 will facilitate the Receiver’s

liquidation efforts without interference by contract counterparties. Accordingly, applying section

365 is warranted in these chapter 15 cases, as it has been in other chapter 15 cases. See, e.g., In re

Mundo Media Ltd., et al., Case No. 19-11365 (KBO) (Bankr. D. Del. July 11, 2019) (applying

section 365 in chapter 15 case recognizing BIA proceedings); In re Axios Logistics Solutions, Inc.,

Case No. 17-10438 (BLS) (Bankr. D. Del. Mar. 28, 2017) (same); Essar Steel Algoma Inc., Case

No. 1512271 (BLS) (Bankr. D. Del. Dec. 1, 2015) (applying section 365 in chapter 15 case

recognizing proceedings under the Companies’ Creditors Arrangement Act of Canada).

       34.     The Court may also provide the foreign representative with “additional assistance”

under section 1507. See 11 U.S.C. § 1507(a). The relief requested satisfies section 1507 because

it is consistent with principles of comity. Id. at § 1507(b). Moreover, the relief requested is not

manifestly contrary to U.S. public policy. See 11 U.S.C. § 1506.

                                             NOTICE

       35.     Notice of this Verified Petition has been provided to: (i) the United States Trustee

for the Southern District of New York (Attn: Paul K. Schwartzberg, Esq.); (ii) the Debtors; (iii)

Peter J. Nygard; (iv) all persons or bodies authorized to administer foreign proceedings of the



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Debtors, including the Canadian Proceeding; (v) all entities against whom provisional relief is

being sought under section 1519 of the Bankruptcy Code; (vi) all parties to litigation pending in

the United States to which any of the Debtors is a party at the time of the filing of the Petition; and

(vii) all parties that have filed a notice of appearance in these chapter 15 cases. The Foreign

Representative submits that such notice is proper and that no other or further notice need be

provided.

                                      NO PRIOR REQUEST

       36.     No prior request for the relief sought in this Petition has been made to this or any

other court.

                                          CONCLUSION

       WHEREFORE, the Foreign Representative respectfully requests entry of an order,

substantially in the form attached as Exhibit B, granting the relief requested herein and such other

and further relief as may be just and proper.

Dated: March 18, 2020
       New York, NY                                    Respectfully submitted,

                                                       By: /s/ Steven J. Reisman
                                                       Steven J. Reisman, Esq.
                                                       Jerry L. Hall, Esq.
                                                       Cindi M. Giglio, Esq.
                                                       KATTEN MUCHIN ROSENMAN LLP
                                                       575 Madison Avenue
                                                       New York, NY 10122
                                                       Telephone: (212) 940-8800
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                                                       cindi.giglio@katten.com

                                                       Counsel to the Foreign Representative




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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK

    In re:                                                               Chapter 15

    NYGARD HOLDINGS (USA) LIMITED, et al.,8                              Case No. 20-10828 (___)

                     Debtors in a Foreign Proceeding.                    Joint Administration Requested


                                   STATEMENT OF VERIFICATION

             I, Gilles Benchaya, as Partner of the Foreign Representative, hereby declare under

penalty of perjury and pursuant to 28 U.S.C. § 1746:

             1.     The Foreign Representative is the Debtors’ duly authorized foreign representative.

The Foreign Representative is duly authorized to file this Petition and to commence and act in this

Chapter 15 Case.

             2.     I have read the foregoing Verified Petition and believe that its factual allegations

are true and accurate to the best of my knowledge, information, and belief.

             3.     I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct to the best of my knowledge, information, and belief.

             Date: March 18, 2020
                   New York, New York
                                                     /s/ Gilles Benchaya
                                                     Gilles Benchaya




8
      The Debtors in these Chapter 15 cases, along with the last four digits of each Debtor’s U.S. Federal Employer
      Identification Number (“FEIN”) or Canada Revenue Agency Business Registration Number (“CRA”) , are:
      Nygard Holdings (USA) Limited (FEIN 3048), Nygard Inc. (FEIN 0509), Nygard NY Retail, LLC (FEIN 1672),
      Fashion Ventures, Inc. (FEIN 0956), Nygard International Partnership (FEIN 1535), Nygard Properties Ltd.
      (CRA 0003), Nygard Enterprises Ltd. (FEIN 7127), 4093887 Canada Ltd. (FEIN 1534), 4093879 Canada Ltd.
      (FEIN 1533).
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                                  Exhibit A

                              Receivership Order
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QUEEN'S BENCH 16:05:44 (Central Standard Time)


                                                                                File No. CI 20-01-26627



                                               THE QUEEN'S BENCH
                                                 Winnipeg Centre



            IN THE MATTER OF:                THE APPOINTMENT OF A RECEIVER PURSUANT TO
                                             SECTION   243   OF    THE    BANKRUPTCY  AND
                                             INSOLVENCY ACT, R.S.C., C. B-3, AS AMENDED,
                                             AND SECTION 55 OF THE COURT OF QUEEN'S
                                             BENCH ACT, C.C.S.M., C. C280, AS AMENDED
            BETWEEN:

                            WHITE OAK COMMERCIAL FINANCE, LLC

                                                                                                Applicant

                                                     - and -



                            NYGARD     HOLDINGS     (USA)      LIMITED,    NYGARD       INC.,   FASHION
                            VENTURES, INC., NYGARD NY RETAIL, LLC, NYGARD ENTERPRISES
                            LTD., NYGARD PROPERTIES LTD., 4093879 CANADA LTD., 4093887
                            CANADA LTD., and NYGARD INTERNATIONAL PARTNERSHIP.


                                                                                            Respondents
                                               CERTIFIED CQ**t
                                                      of       —-


                                              RECEIVERSHIP ORDER




              OSLER, HOSKIN & HARCOURT LLP                                PITBLADO LLP
                    Barristers and Solicitors                         2500-360 Main St.
               P.O. Box 50, 100 King Street West                    Winnipeg MB R3C4H6
                     1 First Canadian Place
                    Toronto, ON M5X 108                               Catherine Howden
                                                                    Tel:   204.956.3532
                        Marc Wasserman                           Email: howden@pitblado.com
                        Tel: 416.862.4908
                 Email: mwasserman@osler.com                               Eric Blouw
                                                                    Tel:     204.956.3512
                           Jeremy Dacks                          Email: blouw@pitbiado.com
                         Tel: 416.862.4923
                     Email: jdacks@osler.com




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                                         Winnipeg Centre




      THE HONOURABLE MR.                           )                   WEDNESDAY, THE 1STH

      JUSTICE J.G. EDMOND                          )                   DAY OF MARCH, 2020




      IN THE MATTER OF:            THE APPOINTMENT OF A RECEIVER PURSUANT TO
                                   SECTION  243  OF   THE    BANKRUPTCY   AND
                                   INSOLVENCY ACT, R.S.C., C. B-3, AS AMENDED,
                                   AND SECTION 55 OF THE COURT OF QUEEN'S
                                   BENCH ACT, C.C.S.M., C. C280. AS AMENDED
      BETWEEN:


                        WHITE OAK COMMERCIAL FINANCE, LLC


                                                                                           Applicant

                                               - and -



                        NYGARD   HOLDINGS    (USA)          LIMITED,   NYGARD    INC.,     FASHION
                        VENTURES, INC., NYGARD NY RETAIL, LLC, NYGARD ENTERPRISES
                        LTD, NYGARD PROPERTIES LTD., 4093879 CANADA LTD., 4093887
                        CANADA LTD., and NYGARD INTERNATIONAL PARTNERSHIP.

                                         CERTIFIED GQf*y
                                                                                     Respondents
                                               -       of
                                     RECEIVERSHIP ORDER




              THIS APPLICATION made by the Applicant for an Order pursuant to section

     243(1) of the Bankruptcy arid Insolvency Act, R.S.C. 1986, c. B-3, as amended (the"BIA")

     and section 55 of The Court of Queen's Bench Act, C.C.S.M. c. C280             (the    "QBA")
     appointing Richter Advisory Group Inc. as receiver ("Richter" or, in such capacity, the

     "Receiver") without security, of all of the assets, undertakings and properties of Nygard

     Holdings (USA) Limited, Nygard Inc., Fashion Ventures, Inc., Nygard NY Retail, LLC,

     4093879 Canada Ltd., 4093887 Canada Ltd., Nygard International Partnership, Nygard

     Properties Ltd. and Nygard Enterprises Ltd.   (collectively and any of them, the "Debtors")




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        acquired for, or used in relation to a business carried on by, the Debtors, was heard this
        day at the Law Courts Building, 408 York Avenue, Winnipeg, Manitoba.


                     ON READING the Affidavit of Robert L. Dean affirmed March 9, 2020 (the "Dean

        Affidavit"), the Affidavit of Debbie Mackie affirmed March 10, 2020, the Affidavit of Greg

        Fenske affirmed March 11, 2020, the Affidavit of Jami Jacyk affirmed March 12, 2020, the

       Affidavit of Chantale DeBlois affirmed March 12, 2020, the Affidavit of Robert L. Dean

       affirmed March 17, 2020, the Affidavit of Laura Leigh Buley sworn March 17, 2020, the

       Affidavit of Greg Fenske affirmed March 18, 2020 and the "Confidential" Affidavit of Greg

       Fenske affirmed March 18, 2020 and on hearing the submissions of counsel for the

       Applicant, counsel for the Debtors, counsel for the Receiver, counsel for the Proposal

       Trustee, and no one else appearing although duly served as appears from the Affidavit of

       Service of Chantale DeBlois sworn March 9, 2020, filed herein, and on reading the

       consent of Richter to act as Receiver


       SERVICE

       1.          THIS COURT ORDERS that the time for service of the Notice of Application is

      hereby abridged and validated so that this application is properly returnable today and

      hereby dispenses with further service thereof.


      APPOINTMENT


      2,           THIS COURT ORDERS that pursuant to section 243(1) of the BIA and section 55

      of the QBA, Richter is hereby appointed Receiver, without security, of all of the assets,

      undertakings and properties of the Debtors acquired for, or used in relation to a business

     carried         on     by   the   Debtors   (the   "Business"),   including   ail   proceeds   thereof   (the

     "Property").


     3.           THiS COURT ORDERS that, subject to further Order of this Court, and subject to

     the exercise of overriding powers pursuant to paragraph 6 hereof, the Debtors shall

     remain in possession and control of the Property, and the Receiver shall not be or be

     deemed to be in possession and control of the Property save and except as specifically
     provided for herein or pursuant to steps actually taken by the Receiver with respect to the

     Property under the permissive powers granted to the Receiver pursuant to paragraph 6 of

     this Order




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        4.            THIS COURT ORDERS that:


                       (a)     subject to paragraph 6{d) hereof, the Debtors' central cash management

                               system and other accounts, as described In paragraphs 59 through 66 of

                               the Dean Affidavit (the "Cash Management System") shall continue to be

                               utilized at the direction of the Receiver on behalf of the Debtors (without

                               any liability in respect thereof) and any bank or institution (each, a "Bank")

                               providing the Cash Management System shall not be under any obligation

                               whatsoever to inquire into the propriety, validity or legality of any transfer,

                               payment, collection or other action taken under the Cash Management

                              System, or as to the use or application by the Receiver on behalf of the

                              Debtors (without any liability in respect thereof and as authorized by this

                              Order) or the Receiver of funds transferred, paid, collected or otherwise

                              dealt with in the Cash Management System, and shall be entitled to

                              provide the Cash Management System without any liability in respect

                              thereof to any person other than the Receiver on behalf of the Debtors

                              (without any liability in respect thereof and as authorized by this Order) or

                              the Receiver, pursuant to the terms of the documentation applicable to the

                              Cash Management System, and shall be, in its capacity as provider of the

                              Cash Management System, an unstayed and unaffected creditor with

                              regard to any claims or expenses it may suffer or incur in connection with

                              the provision of the Cash Management System; and


                    (b)       changes to the Cash Management System or to the operation of any Bank

                              account thereunder shail be made oniy at the direction of and upon

                              instruction from the Receiver and, for greater certainty, a Bank shail not

                              accept or act upon the direction or instruction of the Debtors in relation

                              thereto.


     RECEIVER'S POWERS

     5.             THIS COURT ORDERS that the Receiver is hereby authorized and directed to:


                    (a)       remit to the Debtors from Receiver's borrowings such funding as the
                              Receiver may from time to time approve for the purposes of the Business



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                         in accordance with the provisions of the Receiver Term Sheet attached as

                         Appendix "B" to this Receivership Order;


                  (b)    market and pursue all offers for sales of the Business or Property, in whole

                         or in part, which may include: (i) advertising and soliciting offers in respect

                         of the Property, the Business or any part or parts thereof and negotiating

                         such terms and conditions of sale as the Receiver in its discretion may

                         deem appropriate; (ii) soliciting proposals from third party liquidators; and

                         (iii) engaging a real estate broker with respect to the sale of the Debtors'

                         real property, subject to prior approval of this Court being obtained before

                         any sale (except as permitted by paragraph 6(m)(i) below; and


                 (c)     remit to the Lenders (as defined in the Dean Affidavit), on behalf of the

                         Debtors (without any liability in respect thereof), any and all proceeds from

                         Property in repayment of amounts outstanding in respect of the Credit

                        Agreement (as defined in the Dean Affidavit)


      RECEIVER'S PERMISSIVE POWERS

      6.        THIS COURT ORDERS that the Receiver is hereby empowered and authorized,

      but not obligated, subject at all times to paragraph 5 above, to act at once in respect of the

      Property and, without in any way limiting the generality of the foregoing, the Receiver is

      hereby expressly empowered and authorized to do any of the following where the

      Receiver considers it necessary or desirable (provided that any disbursements made in

     connection with this       paragraph    6   are   made   in   accordance   with the   terms   of this

      Receivership Order and the Receiver Term Sheet):


                (a)     to take possession of and exercise control over the Property;


                (b)     to receive, preserve, protect and maintain control of the Property, or any

                        part or parts thereof, including, but not limited to, the changing of locks and

                        security codes, the relocating of Property to safeguard it, the engaging of

                        independent security personnel, the taking of physical inventories and the

                        placement of such insurance coverage as may be necessary or desirable;


               (c)      to manage, operate, and carry on the business of the Debtors, including

                        the powers to enter into any agreements (including any amendments and




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                         modifications thereto),   incur any obligations in the ordinary course of

                         business, cease to carry on all or any part of the business, or cease to

                         perform any contracts of the Debtors;


                 (d)     take control of any and all accounts of the Debtors, including accounts with

                         Banks, and take ail required acts with any Bank to facilitate the control of

                         such accounts, including changing signing authority on such accounts to

                         such persons as the Receiver, it its sole discretion, deems appropriate, or,

                         if deemed necessary by the Receiver, open one or more new accounts with

                         any financial institution in the Receiver's Name ("Receiver's Accounts")

                         and receive third party funds into the Receiver's Accounts, transfer into the

                         Receiver's Accounts such funds of the Debtors as the Receiver, in its sole

                         discretion, deems necessary or appropriate to assist with the exercise of

                        the Receiver's powers and duties set out herein, or to make payments on

                        behalf of the    Debtors as the      Receiver,   in   its   sole   discretion,   deems

                        necessary or appropriate; provided, however, that (i) in each case such

                        action shall be without any liability of the Receiver in respect thereof; and

                        (ii) the monies standing to the credit of the Receiver's Accounts from time

                        to time shall be held by the Receiver to be dealt with as permitted by this

                        Order or any other Orders of this Court;


                (e)     to engage consultants, contractors, appraisers, agents, experts, auditors,

                        accountants, managers, assistants, counsel and such other persons from

                        time to time and on whatever basis, including on a temporary basis, to

                        assist with the exercise of the Receiver's powers and duties, including

                        without limitation those conferred by this Order;


                (f)     to purchase or lease such machinery, equipment, inventories, supplies,

                        premises or other assets to continue the business of the Debtors or any

                        part or parts thereof;


               (g)      to consult with the Applicant from time to time and to provide such

                        information to the Applicant as      may   be    reasonably requested by the

                        Applicant;




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                  (h)           to exercise all remedies available to the Debtors for the collection of

                                monies including, without limitation, to enforce any security held by the

                                Debtors;


                  (I)           to remit to the Debtors funding from the Receiver's borrowings to continue

                                to operate the Business in accordance with the Receiver Term Sheet;


                 (J)            to settle, extend or compromise any indebtedness owing to or by the

                                Debtors;


                 (k)            to execute, assign, issue and endorse documents of whatever nature in

                                respect of any of the Property or the Business, whether in the Receiver's

                                name or in the name and on behalf of the Debtors, for any purpose

                                pursuant to this Order or otherwise authorized by the Court;


                 (I)           to   initiate,    prosecute   and   continue   the   prosecution   of   any    and   all

                               proceedings and        to defend    all   proceedings   now pending     or hereafter

                               instituted with respect to the Debtors, the Property or the Receiver, and to

                               settle   or      compromise   any    such   proceedings.   The     authority   hereby

                               conveyed shall extend to such appeals or applications for judicial review in

                               respect of any order or judgment pronounced in any such proceeding;


                (m)            to sell, convey, transfer, lease or assign the Property or any part or parts

                               thereof out of the ordinary course of business,


                         (0             without the approval of this Court in respect of any transaction not

                                        exceeding $250,000, provided that the aggregate consideration for

                                        all such transactions does not exceed $1,000,000; and


                        (ii)            with the approval of this Court in respect of any transaction in which

                                        the purchase price or the aggregate purchase price exceeds the

                                        applicable amount set out in the preceding clause;


                               and in each such case notice under subsection 59{10) of The Personal

                               Property Security Act (Manitoba), subsection 134(1) of The Real Property

                           Act (Manitoba) or any similar federal or provincial legislation shall not be

                               required;




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                   (n)    to apply for any vesting order or other orders necessary to convey the

                          Property or any part or parts thereof to a purchaser or purchasers thereof,

                          free and clear of any liens or encumbrances affecting such Property:


                  (o)     to report to, meet with and discuss with such affected Persons (as defined

                          below) as the Receiver deems appropriate on all matters relating to the

                          Property and the receivership, and to share information, subject to such

                          terms as to confidentiality as the Receiver deems advisable;


                  (P)    to register a copy of this Order and any other Orders in respect of the

                          Property against title to any of the Property;


                  (q)    to apply for any permits, licences, approvals or permissions as may be

                         required by any governmental authority and any renewals thereof for and

                         on behalf of and, if thought desirable by the Receiver, in the name of the

                         Debtors;


                 <r)     to enter into agreements with any trustee in       bankruptcy appointed in

                         respect of the Debtors, including, without limiting the generality of the

                         foregoing, the ability to enter into occupation agreements for any property

                         owned or leased by the Debtors;



                 (s)     to exercise any shareholder, partnership, joint venture or other rights which

                         the Debtors may have;


                 (t)     to serve as a "foreign representative" of the Debtors in any proceeding

                         outside of Canada; and


                 (u)     to take any steps reasonably incidental to the exercise of these powers or

                         the performance of any statutory obligations.


     and in each case where the Receiver takes any such actions or steps, it shall be

     exclusively authorized and empowered to do so, to the exclusion of all other Persons (as

     defined below), including the Debtors, and without interference from any other Person.




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         DUTY TO PROVIDE ACCESS AND CO-OPERATION TO THE RECEIVER

        7.             THIS COURT ORDERS that the Debtors, all of their current and former directors,

        officers, employees, agents, advisors, accountants, legal counsel and shareholders, and

        all other persons acting on their instructions or behalf, and all other individuals, firms,

        corporations, governmental bodies or agencies, or other entities having notice of this

        Order (all of the foregoing, collectively, being "Persons" and each being a "Person") shall

       forthwith               advise   the   Receiver of the     existence     of any    Property     in   such   Person's

       possession or control, shall grant immediate and continued access to the Property to the

       Receiver, and shall deliver all such Property to the Receiver upon the Receiver's request.


       8.             THIS COURT ORDERS that all Persons shall forthwith advise the Receiver of the

       existence               of   any   books,    documents,    securities,     contracts,    orders,     corporate    and

       accounting records, and any other papers, records and information of any kind related to

       the business or affairs of the Debtors, including the Cash Management System, and any

       computer programs,                     computer tapes,    computer disks,       or other data        storage   media

       containing any such information                    (the foregoing,       collectively,   the   "Records")      in that

       Person's possession or control, and shall provide to the Receiver or permit the Receiver

      to make, retain and take away copies thereof and grant to the Receiver unfettered access

      to and use of accounting, computer, software and physical facilities relating thereto,

      provided however that nothing in this paragraph 8 or in paragraph 9 of this Order shall

      require the delivery of Records, or the granting of access to Records, which may not be

      disclosed or provided to the Receiver due to the priviiege attaching to solicitor-client

      communication or due to statutory provisions prohibiting such disclosure.


      9.             THIS COURT ORDERS that if any Records are stored or otherwise contained on a

      computer or other electronic system of information storage, whether by independent

      service provider or otherwise, all Persons in. possession or control of such Records shall

     forthwith give unfettered access to the Receiver for the purpose of allowing the Receiver

     to recover and fully copy all of the information contained therein whether by way of

     printing the information onto paper or making copies of computer disks or such other

     manner of retrieving and copying the information as the Receiver in its discretion deems

     expedient, and shall not alter, erase or destroy any Records without the prior written

     consent of the Receiver.                    Further, for the purposes of this paragraph, ail Persons shall

     forthwith provide the Receiver with all such assistance in gaining immediate access to the




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        information in the Records as the Receiver may in its discretion require, including

        providing the Receiver with instructions on the use of any computer or other system and

       providing the Receiver with any and all access codes, account names and account

       numbers that may be required to gain access to the information.


       10.         THIS COURT ORDERS that the Receiver shall provide each of the relevant

       landlords with notice of the Receiver's intention to remove any fixtures from any leased

       premises at least seven (7) days prior to the date of the intended removal.    The relevant

       landlord shall be entitled to have a representative present in the leased premises to

       observe such removal and, if the landlord disputes the Receiver's entitlement to remove

       any such fixture under the provisions of the lease, such fixture shall remain on the

       premises and shall be dealt with as agreed between any applicable secured creditors,

      such landlord and the Receiver, or by further Order of this Court upon application by the

      Receiver on at least two (2) days' notice to such landlord and any such secured creditors.


      NO PROCEEDINGS AGAINST THE RECEIVER

      11.         THIS COURT ORDERS that no proceeding or enforcement process in any court or

      tribunal (each, a "Proceeding"), shall be commenced or continued against the Receiver

      except with the written consent of the Receiver or with leave of this Court.


      NO PROCEEDINGS AGAINST THE DEBTORS OR THE PROPERTY

      12.        THIS COURT ORDERS that no Proceeding against or in respect of the Debtors or

      the Property (including for greater certainty, any Property located on third-party premises)

      or any assets located on premises belonging to or leased by the Debtors shall be

      commenced or continued except with the written consent of the Receiver or with leave of

     this Court and any and all Proceedings currently under way against or in respect of the

      Debtors or the Property or any assets located on premises belonging to or leased by the

     Debtors are hereby stayed and suspended pending further Order of this Court provided;

     however, that nothing in this Order shall affect a Regulatory Body's investigation in

     respect of the Debtors or an action, suit or proceeding that is taken in respect of one or

     more of the Debtors by or before the Regulatory Body, other than the enforcement of a

     payment order by the Regulatory Body of the Court. "Regulatory Body" means a person

     or body that has powers, duties or functions relating to the enforcement or administration

     of an Act of Parliament or of the legislature of a province.




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        13.        THIS COURT ORDERS that notwithstanding paragraph 12 of this Order, nothing

        contained in this Order shall prevent or stay the continuation of the proceeding of Jane

       Does No$. 1-10 v. Nygard et al., No. 20-cv-01288 (ER) against certain Debtors in the

       United       States District Court for the Southern District of New York (the "Jane Doe

       Proceeding*') through and including the entry of final judgment therein, provided that this

       Order shall prevent and stay in all respects the enforcement of any judgment therein

       against any of the Debtors. For the avoidance of doubt, (i) the Receiver shall be under no

       obligation whatsoever to take any^actions or steps with respect to the Jane Doe

       Proceeding, including but not limited to defending against such proceeding, and (ii) the

       Receiver shall have no liability whatsoever in respect of the Jane Doe Proceeding


       NO EXERCISE OF RIGHTS OR REMEDIES

       14,        THIS COURT ORDERS that ail rights and remedies against the Debtors, the

      Receiver, or affecting the Property (for certainty, including any rights and remedies of the

      plaintiffs as judgment creditors in the Jane Doe Proceeding, if applicable), are hereby

      stayed and suspended except with the written consent of the Receiver or leave of this

      Court, provided however that this stay and suspension does not apply in respect of any

      "eligible financial contract" as defined in the BIA, and further provided that nothing in this

      paragraph shall (i) empower the Receiver or the Debtors to carry on any business which

      the Debtors is not lawfully entitled to carry on, (ii) exempt the Receiver or the Debtors from

      compliance with statutory or regulatory provisions relating to health,         safety or the

      environment, (iii) prevent the filing of any registration to preserve or perfect a security

      interest, or (iv) prevent the registration of a claim for lien, provided that no further steps

      shall be taken,


      NO INTERFERENCE WITH THE RECEIVER

     15.         THIS COURT ORDERS that no Person shall discontinue, fail to honour, alter,

     interfere with, repudiate, terminate or cease to perform any right, renewal right, contract,

     agreement, licence or permit in favour of or held by the Debtors, without written consent of

     the Receiver or leave of this Court.


     CONTINUATION OF SERVICES

     16.         THIS COURT ORDERS that all Persons having oral or written agreements with

     the Debtors or statutory or regulatory mandates for the supply of goods and/or services,




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        including without limitation, ail computer software, communication and other data services,

        centralized banking services, payroll services, insurance, transportation services, utility or

        other services to the Debtors are hereby restrained until further Order of this Court from

       discontinuing, altering, interfering with or terminating the supply of such goods or services

       as may be required by the Receiver, and that the Receiver shall be entitled to the

       continued use of the applicable Debtor's current telephone numbers, facsimile numbers,

       internet addresses and domain names, provided in each case that the normal prices or

       charges for all such goods or services received after the date of this Order are paid by the

       Receiver in accordance with normal payment practices of the Debtors or such other

       practices as may be agreed upon by the supplier or service provider and the Receiver, or

       as may be ordered by this Court.


       EMPLOYEES

       17.         THIS COURT ORDERS that all employees of the Debtors shall remain the

      employees of the applicable Debtor(s) until such time as the Receiver, on the Debtors'

      behalf, may terminate the employment of such employees. The Receiver shall not be

      liable for any employee-related liabilities, including any successor employer liabilities as

      provided for in section 14.06(1.2) of the BIA, other than such amounts as the Receiver

      may specifically agree in writing to pay, or in respect of its obligations under sections

      81 .4(5) or 81.6(3) of the BIA or under the Wage Earner Protection Program Act.


      PIPEDA

      18.         THIS COURT ORDERS that pursuant to clause 7{3)(c) of the Canada Personal

      Information          Protection   and Electronic   Documents Act,   the   Receiver shall   disclose

     personal information of identifiable individuals to prospective purchasers or bidders for the

     Property and to their advisors, but only to the extent desirable or required to negotiate and

     attempt to complete one or more sales of the Property (each, a "Sale'). Each prospective

     purchaser or bidder to whom such personal information is disclosed shall maintain and

     protect the privacy of such information and limit the use of such information to its

     evaluation of the Sale, and if it does not complete a Sale, shall return ail such information

     to the Receiver, or in the alternative destroy all such information,         The purchaser of any

     Property shall be entitled to continue to use the personal information provided to it, and

     related to the Property purchased, in a manner which is in all material respects identical to




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        the prior use of such information by the Debtors, and shall return all other personal

        information to the Receiver, or ensure that all other personal information is destroyed.


        LIMITATION ON ENVIRONMENTAL LIABILITIES

        19,             THIS COURT ORDERS that in addition to paragraph 6 hereof, nothing herein

        contained shall require the Receiver to occupy or to take control, care, charge, possession

       or management {separately and/or collectively, "Possession") of any of the Property that

       might be environmentally contaminated, might be a pollutant or a contaminant, or might

       cause or contribute to a spill, discharge, reiease or deposit of a substance contrary to any

       federal, provincial or other law respecting the protection, conservation, enhancement,

       remediation or rehabilitation of the environment or relating to the disposal of waste or

       other contamination including, without limitation, the Canadian Environmental Protection

       Act, The Environment Act (Manitoba), The Water Resources Conservation Act (Manitoba),

       The Contaminated Sites Remediation Act (Manitoba), The Dangerous Goods Handling

       and Transportation Act (Manitoba), The Public Health Act (Manitoba) or The Workplace

       Safety and Health Act (Manitoba) or any similar federal or provincial legislation and

      regulations thereunder (the "Environmental Legislation"), provided however that nothing

      herein shall exempt the Receiver from any duty to report or make disclosure imposed by

      applicable Environmental Legislation.        The Receiver shall not, as a result of this Order or

      anything done in pursuance of the Receiver's duties and powers under this Order, be

      deemed to be in             Possession   of any of the   Property within   the   meaning of any

      Environmental Legislation, unless it is actually in possession.


      LIMITATION ON THE RECEIVER'S LIABILITY

      20.            THIS COURT ORDERS that the Receiver shall incur no liability or obligation as a

      result of its appointment or the carrying out the provisions of this Order, including, for

     greater certainty, if applicable, in the Receiver's capacity as "foreign representative", save

     and except for any gross negligence or wiiful misconduct on its part, or in respect of its
     obligations under sections 81,4(5) or 81.6(3) of the BIA or under the Wage Earner

     Protection Program Act.             Nothing in this Order shall derogate from the protections

     afforded the Receiver by section 14.06 of the BIA or by any other applicable legislation.




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        RECEIVER'S ACCOUNTS

       21.         THIS COURT ORDERS that the Receiver and counsel to the Receiver shall be

       paid their reasonable fees and disbursements, in each case at their standard rates and

       charges unless otherwise ordered by the Court on the passing of accounts, and that the

       Receiver and counsel to the Receiver shall be entitled to and are hereby granted a charge

       (the "Receiver's Charge") on the Property, as security for such fees and disbursements,

       both before and after the making of this Order in respect of these proceedings, and that

       the Receiver's Charge shall form a first charge on the Property in priority to all security

       interests, trusts,   liens, charges and encumbrances,    statutory or otherwise (each,     an

       "Encumbrance"), in favour of any Person, except for any Encumbrance in favour of a

       secured creditor who would be materially affected by this Order and who was not given

      notice of this application, and subject to sections 14.06(7), 81.4(4), and 81.6(2) of the BIA.


      22.         THIS COURT ORDERS that the Receiver and its legal counsel shall pass their

      accounts from time to time, and for this purpose the accounts of the Receiver and its legal

      counsel are hereby referred to a judge of this Court, but nothing herein shall fetter this

      Court's discretion to refer such matters to a Master of this Court.


      23.         THIS COURT ORDERS that prior to the passing of its accounts, the Receiver shall

      be at liberty from time to time to apply reasonable amounts, out of the monies in its hands,

      against its fees and disbursements, including legal fees and disbursements and applicable

      taxes, incurred at the standard rates and charges of the Receiver or its counsel, and such

      amounts shall constitute advances against its remuneration and disbursements when and

      as approved by this Court.


      FUNDING OF THE RECEIVERSHIP


     24.         THIS COURT ORDERS that the Receiver is at liberty and is hereby empowered to

     borrow from the Applicant, pursuant to and in accordance with the terms of the Receiver

     Term Sheet and the budget (the "Budget') contemplated therein, such monies from time

     to time as it may consider necessary or desirable for the purpose of funding the exercise

     of the powers and duties conferred upon the Receiver by this Order, including, without
     limitation, payment of expenses contemplated in the Budget by the Receiver on behalf of

     the Debtors (without any liability in respect thereof and as authorized by this Order) or the

     Receiver, subject to the terms of the Receiver Term Sheet (including the Budget)          The




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       whole of the Property shall be and is hereby charged by way of a fixed and specific

       charge (the "Receiver's Borrowings Charge") as security for the payment of the monies

       borrowed, together with interest and charges thereon, in priority to all Encumbrances in

       favour of any Person, but subordinate in priority to (i) any Encumbrance in favour of a

       secured creditor who would be materially affected by this Order and who was not given

       notice of this application, (ii) the Receiver's Charge, and (iii) the charges as set out in

       sections 14.06(7), 81.4(4), and 81.6(2) of the BIA.


      25.        THIS COURT ORDERS that neither the Receiver's Borrowings Charge nor any

      other security granted by the Receiver in connection with its borrowings under this Order

      shall be enforced without leave of this Court.


      26,        THIS COURT ORDERS that the Receiver is at liberty and authorized to issue

      certificates substantially in the form annexed as Schedule "A" hereto (the "Receiver's

      Certificates") for any amount borrowed by it pursuant to this Order.


      27.       THIS COURT ORDERS that the monies from time to time borrowed by the

      Receiver pursuant to this Order or any further order of this Court and any and all

      Receiver's Certificates evidencing the same or any part thereof shall rank on a pari passu

      basis,     unless otherwise agreed to    by the   holders   of any prior   issued   Receiver's

      Certificates.


     28.        THIS COURT ORDERS that notwithstanding any other provision of this Order, but

     subject to the terms of the Receiver Term Sheet, the lenders thereunder may cease

     making advances and the facility provided for under the Receiver Term Sheet shall be

     deemed to have expired.


     SERVICE AND NOTICE


     29.        THIS COURT ORDERS that the Applicant and the Receiver be at liberty to serve

     this Order, any other materials and orders in these proceedings, any notices or other

     correspondence, by forwarding true copies thereof by prepaid ordinary mail, courier,

     personal delivery or electronic transmission to the Debtors' creditors or other interested

     parties at their respective addresses as last shown on the records of the Debtors and thai

     any such service or notice by courier, personal delivery or electronic transmission shall be

     deemed to be received on the next business day following the date of forwarding thereof,

     or if sent by ordinary mail, on the third business day after mailing.



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       30.        THIS COURT ORDERS that counsel for the Receiver shall prepare and keep a

       current list ("Service List") containing the name and contact information (which may

       include the address, telephone number and facsimile number or e-mail address) for

       service to: the Applicant, the Receiver; and each creditor or other interested party who

       has sent a request in writing, to counsel for the Receiver to be added to the Service List.

       The Service List shall indicate whether each person on the Service List has elected to be

       served by e-mail or facsimile, and failing such election the Service List shaii indicate

       service by e-maii. The Service List shall be posted on the website of the Receiver at the

       address indicated in paragraph 31                herein. For greater certainty, creditors and other

       interested persons who have received notice of this Order and who do not send in a

       request, in writing, to counsel for the Receiver to be added to the Service List shall not be

       required to be further served in this proceeding. Service shaii be deemed valid and

      sufficient if completed in the manner elected.


      31.        THIS COURT ORDERS that the Applicant, the Receiver, and all parties on the

      Service List may serve any court materials in these proceedings by e-mailing a PDF or

      other electronic copy of such materials to counsels' e-mail addresses as recorded on the

      Service List from time to time, which service shall be deemed valid and sufficient, and the

      Receiver          shall   post   a   copy   of   any   and   all   such   materials   on   its   website   at:
      https://www.richter.ca/insolvencycase/nygard-group.


      GENERAL


      32.       THIS COURT ORDERS that the Receiver may from time to time apply to this

      Court for advice and directions in the discharge of its powers and duties hereunder.


      33.       THIS COURT ORDERS that nothing in this Order shall prevent the Receiver from

     acting as a trustee in bankruptcy of the Debtors.


     34.        THIS COURT ORDERS that this Court hereby requests the aid and recognition of

     any court, tribunal, regulatory or administrative body having jurisdiction in Canada or in

     the United States to give effect to this Order and to assist the Receiver and its agents in

     carrying out the terms of this Order. Ali courts, tribunals, regulatory and administrative

     bodies are hereby respectfully requested to make such orders and to provide such

     assistance to the Receiver, as an officer of this Court, as may be necessary or desirable




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       to give effect to this Order, to grant representative status to the Receiver in any foreign

       proceeding, or to assist the Receiver and its agents in carrying out the terms of this Order.


       35.          THIS    COURT   ORDERS   that the   Receiver   is   hereby directed,   as   "foreign

       representative" of the Debtors, to apply to the United States Bankruptcy Court for relief

       pursuant to Chapter 15 of the United States Bankruptcy Code, 11 U.S.C. 101-1330, as

       amended.


       36.          THIS COURT ORDERS that the Receiver shall be at liberty and is hereby

      authorized and empowered to apply to any court, tribunal, regulatory or administrative

      body, wherever located, for the recognition of this Order and for assistance in carrying out

      the terms of this Order, and, that the Receiver is authorized and empowered to act as a

      representative in respect of the within proceedings for the purpose of having these

      proceedings recognized in a jurisdiction outside Canada.


      37.          THIS COURT ORDERS that the Applicant shall have its costs of this Application,

      up to and including entry and service of this Order, provided for by the terms of the
      Applicant's security or, if not so provided by the Applicant's security, then on a solicitor

      client basis to be paid by the Receiver from the Debtors' estate with such priority and at

      such time as this Court may determine.


      38.          THIS COURT ORDERS that any interested party may apply to this Court to vary or

      amend this Order on not less than seven (7) days' notice to the Receiver and to any other

      party likely to be affected by the order sought or upon such other notice, if any, as this

      Court may order.
                                                                                 Digitally signed by
                               CERTIFIED A TRUE COPY J.G.                       J.G. Edmond, J.
                                                                                 Date: 2020.03.1 8

     March 18, 2020                 QjTlmjuv/            Edmond, J.              1 5:55:32 -05'00'
                                 DEPUTY REGISTRAR       EDMOND J.

     I, JEREMY DACKS, OF THE FIRM OF OSLER, HOSKIN & HARCOURT LLP, HEREBY
     CERTIFY THAT I HAVE RECEIVED THE CONSENTS AS TO FORM OF THE
     FOLLOWING PARTIES:



     AS DIRECTED BY THE HONOURABLE JUSTICE J.G. EDMOND




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                                                    SCHEDULE "A"
                                               RECEIVER CERTIFICATE

          CERTIFICATE NO.

       AMOUNT $..

       1.        THIS     IS    TO     CERTIFY that   Richter Advisory    Group   Inc.,   the   receiver (the

       "Receiver") of the assets, undertakings and properties of Nygird Holdings (USA) Limited,

       Nyg&rd Inc., Fashion Ventures, Inc., Nygard NY Retail, LLC, 4093879 Canada Ltd.,

      4093887 Canada Ltd., Nygard International Partnership, Nygard Properties Ltd., and

      Nygard Enterprises Ltd. (collectively, the "Debtors") acquired for, or used in relation to a

      business carried on by the Debtors, including all proceeds thereof (collectively, the

      "Property") appointed by Order of the Court of Queen's Bench of Manitoba (the "Court")

      dated the               day of           2020 (the "Order") made in an action having Court file

      number CI-                         has received as such Receiver from the holder of this certificate

      (the "Lender") the principal sum of $                        being part of the total principal sum of

      $                       which the Receiver is authorized to borrow under and pursuant to the

      Order.


      2.        The principal sum evidenced by this certificate is payable on demand by the

      Lender with interest thereon calculated in accordance with Receiver Term Sheet attached

      as Appendix "B" to the Receivership Order made March 18, 2020.


      3.        Such principal sum with interest thereon is, by the terms of the Order, together

     with the principal sums and interest thereon of all other certificates issued by the Receiver

      pursuant to the Order or to any further order of the Court, a charge upon the whole of the

      Property, in priority to the security interests of any other person, but subject to the priority

     of the charges set out in the Order and in the Bankruptcy and Insolvency Act, and the right

     of the Receiver to indemnify itself out of such Property in respect, of its remuneration and

     expenses.




     4.        All sums payable in respect of principal and interest under this certificate are

     payable in accordance with the Receiver Term Sheet.


     5.        Until all liability in respect of this certificate has been terminated, no certificates

     creating charges ranking or purporting to rank in priority to this certificate shall be issued




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       by the Receiver to any person other than the holder of this certificate without the prior

       written consent of the holder of this certificate,


       6,         The charge securing this certificate shall operate so as to permit the Receiver to

       deal with the Property as authorized by the Order and as authorized by any further or

      other order of the Court,


      7.         The Receiver does not undertake, and it is not under any personal or corporate

      liability, to pay any sum in respect of which it may issue certificates under the terms of the

      Order,


      DATED the                 day of     , 2020,


                                                            RICHTER ADVISORY GROUP INC., solely in
                                                            its   capacity     as    Receiver   of    the   assets,
                                                            undertakings       and    properties     of   NYGARD
                                                            HOLDINGS (USA) LIMITED, NYGARD INC.,
                                                            FASHION VENTURES, INC., NYGARD NY
                                                            RETAIL, LLC, NYGARD ENTERPRISES LTD,
                                                            NYGARD    PROPERTIES   LTD., 4093879
                                                            CANADA LTD., 4093887 CANADA LTD., and
                                                            NYGARD           INTERNATIONAL         PARTNERSHIP
                                                            and not in its personal or corporate capacity


                                                            Per

                                                                    Name:
                                                                    Title:




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                                       SCHEDULE "B"
                                    RECEIVER TERM SHEET




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                                                 TERM. SHEET

                                           Dated as of March 10, 2020

                WHEREAS White Oak Commercial Finance, LLC, in its capacity as administrative and
        collateral agent (the "Agent") under the Credit Agreement dated as of December 30, 2019 (the
        "Credit Agreement"), by and among the Debtors (as defined below), the Agent and White Oak
        Commercial Finance, LLC and          Second   Avenue     Capital   Partners,   LLC   as lenders (the
        "Lenders"), has sought the appointment of Richter Advisory Group Inc. ("Richter") as receiver
        (the "Receiver") of the assets, undertakings and properties (the "Property") of Nygird Holdings
        (USA) Limited, Nyg&rd Inc., Fashion Ventures, Inc., Nygfird NY Retail, LLC, 4093879 Canada
        Ltd,, 4093887 Canada Ltd., Nygdrd International Partnership, NygSrd Properties Ltd., and
        Nyglrd Enterprises Ltd. (collectively, the "Debtors") pursuant to section 243 of the Bankruptcy
        and Insolvency Act, R.S.C. 1985, c, B-3, as. amended, and section 55 of The Court of Queen's
        Bench Act, C.C.S.M,, c. C280, as amended;

               AND WHEREAS the Receiver is to be appointed by Order of the Court of Queen's
        Bench (Winnipeg Centre) (the "Court") pursuant to a hearing scheduled on March 10, 2020 (as
        may be modified, amended or supplemented with consent of the Agent and the Receiver, the
        "Receivership Order");

               AND WHEREAS, in either case, the Receiver will incur certain costs and obligations in
!      relation to its appointment as Receiver of the Debtors;

              AND WHEREAS the Lenders have agreed to fund such costs and obligations of the
       Receiver in accordance with the terms set out herein (such funding facility, the "Facility");

              NOW THEREFORE, in consideration of the mutual agreements herein contained, the
       parties hereto agree as follows:

       1.   PURPOSE OF           To fund the costs of (i) the exercise of the powers and duties
            FACILITY;            conferred upon the Receiver by the Receivership Order; (ii) the
                                 Receiver's assessment of realization strategies for the Property and
                                 the implementation of same; and (iii) the fees and disbursements of
                                 the Receiver and its legal counsel in connection with the forgoing;
                                 all in accordance with the terms of a wind-down budget to be agreed
                                 upon by the Agent and the Receiver in writing (as may be
                                 subsequently amended, modified or supplemented from time to time
                                 on agreement of the Agent and the Receiver, the "Budget").

       2.   AVAILABILITY;        Promptly following the granting of the Receivership Order, the
                                 Lenders will make initial' advancc(s) of the Facility to the Receiver
                                 in the aggregate amount of CDNS4, 93 8,000 (the "Initial
                                 Advances"), Thereafter, the Facility may be drawn down by the
                                 Receiver in accordance with the Budget and the terms hereof, unless
                                 otherwise agreed, CDN$240,000 shall be held back by the Lenders
                                 and shall constitute an Initial Advance, the purpose of which will be
                                 to fund the costs of the Agent's legal counsel in connection with the




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                            receiversliip proceedings.

        3.    INTEREST-     Interest shall accrue from the date of the first Initial Advance on the
                            outstanding balance of any Initial Advance and any advance
                           thereafter (each, an "Advance") (collectively, the "Obligations") at
                           the Default Rate (as defined in the Credit Agreement) of interest,
                           which shall be computed on the same terms set forth in the Credit
                           Agreement.

    4.       REPAYMENT:    The Obligations (including interest thereon) shall be repaid to the
                           Lenders upon the realization of proceeds from the sale of any
                           Property,   in   accordance   with   the   Receivership   Order or any
                           subsequent order of the Court, including, for the avoidance of doubt,
                           sales in the ordinary course of business.

                           For greater certainty, Richter in its persona) or corporate capacity
                           will not have any liability to repay the Obligations (including
                           interest thereon),

   5.        ADVANCES      Following the first Initial Advance, the Facility may be drawn down
                           by the Receiver in weekly Advances to cover anticipated costs and
                           expenses of the Receivership in accordance with the Budget The
                           Receiver shall be entitled to submit a weekly written request (an
                           "Advance Request") for an Advance, Such Advances are to be
                          made in accordance with the Budget, unless otherwise agreed.

                          Upon receipt, of an Advance Request, the Lenders will provide the
                          requested Advance to the Receiver by wire transfer to an account
                          stipulated by the Receiver by the end of the business day that is one
                          business day following the day on which the Advance Request is
                          received by the Agent.

   6.        REPORTING    The Receiver shall provide the Agent with weekly borrowing base
                          reporting, which shall include reporting with respect to, among
                          other things: (i) accounts receivable and collections; (ii) inventory
                          sales and holdings; (Hi) weekly cash receipts and disbursement's
                          projections; (iv) variance reporting comparing actual receipts and
                          disbursements for the preceding week to the Budget and the
                          projection contemplated in subsection (in) of this paragraph; (iv) the,
                          status of the liquidation contemplated in the Sale Approval Order
                          provided for in Section S of this Terns Sheet; and (v) such other
                          information regarding the operations, business, affairs and financial
                          conditions of the Debtors as the Agent may reasonably request.
                          Notwithstanding the foregoing, nothing contained in Section 6 of
                          this Term Sheet shall require the Receiver to acquire or implement
                          any new reporting systems and the Receiver shall be entitled to
                          utilize the Debtors' current reporting systems for the purposes of




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                            reporting obligations under this Term Sheet,


      7.     TERM:          The Facility will be available to the Receiver for an initial two-week
                            period ending March 24, 2020 (the "Initial Term"). If the Agent
                            elects to provide additional funding, In its sole discretion, such
                            additional funding is to be provided for a period of time to be agreed
                            upon by the Agent and the Receiver (the "Extended Term") in
                            accordance with a revised budget to be agreed upon between the
                           Agent and the Receiver.

     8,     CONDITIONS     The Lenders will not be obliged to make any Advance (including
           PRECEDENT:      any  Initial Advance) under the Facility unless           the   following
                           conditions precedent have been satisfied or waived:

                           1.    The Receivership Order has been issued.



                           2.   The Receiver has executed and returned a copy of this Term
                                Sheet.

                           3.   The Advance is in accordance with the Budget.




                           4.   The Saie Approval Order, in the form attached as Exhibit "A"
                                hereto, has been issued; provided, however, that such condition
                                shall not apply with respect to the Initial Advance(s).

    9.     TERMINATION:   The Lenders shall be entitled, in their sole discretion, to notify the
                          Receiver that they intend to cease to make further Initial Advances
                          or Advances and to terminate their obligation to make Initial
                          Advances or Advances under this Term Sheet; provided that in such
                          case (i) the Receiver shall thereupon be entitled, but not obliged, to
                          immediately apply to the Court to be fully discharged as receiver
                            and manager of the Property, to which the Lenders will consent, .and
                            (ii) if the Receiver so applies to the Court to be fully discharged as-
                           receiver and manager of the Property, the Lenders shall continue to
                           be obliged to make such Initial Advances or Advances to the
                           Receiver as may be required to satisfy in full on a timely basis all
                          payment and other obligations and liabilities of the Receiver
                           incurred in the proper exercise of the Receiver's powers and until
                           such time as the Receiver has been so discharged by the Court,
                          provided that (A) in the case of an Initial Advance, such payment is
                          contemplated in the cash flow forecast prepared by Riehrer dated
                          March 9, 2020; and (B) in the case of an Advance, such Advance is
                          expressly provided for in the Budget, in each case whether payment
                          or liability in respect of such obligations is due or accrues due prior
                          to or at the date of such discharge. Upon satisfaction of its




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                         obligations described in (i), if applicable, and (ii), if applicable, of
                         this paragraph, the Lender shall be under no further obligation to
                         provide any Advance whatsoever.

     10. RECEIVER        Nothing in this Term Sheet or otherwise shall or shall be interpreted
          OBLIGATIONS    to require the Receiver to do any act or thing that would result in a
                         breach or default by the Receiver of any duty or obligation of the
                         Receiver as provided in. or by the Receivership Order, any
                         amendment thereof or further order, or any statute or otherwise at
                         law.

    11. GOVERNING       This Teim Sheet shall be governed by, and construed in accordance
         JAW:           wife, the laws of the Province of Manitoba and the federal laws of
                        Canada applicable therein.

    12, SECURITY:       A court-ordered receiver's borrowing charge as provided for in fee
                        Receivership Order, in form and substance satisfactory to fee Agent,

    13. NOTICE:         Any notice or request required or permitted to be given in
                        connection with this Term Sheet shall be in writing and shall be
                        sufficiently given if delivered (whether in person, by courier service
                        or other personal method of delivery, or, if transmitted, by email):

                        (a)     in the case of the Receiver at:

                                Richter Advisory Group Inc.
                                181 Bay Street, Suite #35 10
                                Toronto, Ontario, Canada
                                M5J 2T3

                                Attention: Prifesh Patel
                                Email :    PIVteL , Richter.ca

                        (b)     in the case of the Agent at:

                               White Oak Commercial Finance, IXC
                               11 55 Avenue of the Americas, 15th Floor
                               New York, New York 10036
                               Attention: Glenn Schwartz
                               Telephone: 212-887-7943
                               Facsimile: 212-887-7988
                               Email : gs eh wart z@whiteoakcf. com

                               with a copy to:
                               Osier, Hoskin & Harcourt LLP
                               1 First Canadian Place
                               1 00 King Street West, Suite 6200
                              Toronto, ONM5X 1B8
                              Attention: Marc Wasscrman



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                              Telephone: (416) 862-4908
                              Facsimile: (416) 862-6666
                              Email : mwassermaH@osler.com


                              and with a copy to:
                              Halm & Hessen LLP
                              488 Madison Avenue, 14s1' Floor
                              New York, New York 1 0022
                              Attention: Jeanne Siege!
                              Telephone: (212)478-7238
                              Facsimile: (212)478-7400
                              Email: jsiegel@hahnhessen.eom




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  If the above terms and conditions contained herein are acceptable to the Receiver, please execute
  and return a copy of this Term Sheet


                                              WHITE OAK FINANCIAL, LLC



                                              Per:
                                              Name: OaCj/WS Oc>^<W"T'^—
                                              Title:       C,v/f

                                              SECOND AVENUE CAPITAL PARTNERS
                                              LLC



                                              Per;     ,
                                              Name:
                                              Title:

                                                                                                                 f


 We acknowledge and accept the within terms and conditions as of the 10th day of March, 2020.
                                                                                                                 :
                                              RICHTER ADVISORY GROUP INC., solely in
                                              its capacity as proposed court-appointed receiver of
                                              the assets, undertakings and properties of
                                                                                                                 !
                                             NYGARD HOLDINGS (USA) LIMITED,
                                             nygArd inc., fashion VENTURES, INC.,
                                             NYGARD NY RETAIL, LLC, 4093879
                                             CANADA LTD., 4093887 CANADA LTD.,
                                             NYGARD INTERNATIONAL PARTNERSHIP,                               :

                                             NYGARD PROPERTIES LTD., AND NYGARD
                                             ENTERPRISES LTD.



                                             Per:
                                             Name:
                                             Title;




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  if the above terms and conditions contained herein are acceptable to the Receiver, please execute
 and return a copy of this Term Sheet.


                                              WHITE OAK FINANCIAL, LLC



                                              Per:
                                              Name:
                                              Title:


                                              SECOND AVENUE CAPITAL PARTNERS,
                                              LLC



                                              Per:                          -LVVV     — _

                                              Name: 0 h e\ Jra
                                                           Sob h           (S) Co    ^®      ^
                                              Title:




 We acknowledge and accept the within terms and conditions as of the 10th day of March, 2020.

                                              RICHTER ADVISORY GROUP INC., solely in
                                              its capacity as proposed court-appointed receiver of
                                              the assets, undertakings and properties of
                                              NYGARD HOLDINGS (USA) LIMITED,
                                              NYGARD INC., FASHION VENTURES, INC.,
                                              NYGARD NY RETAIL, LLC, 4093879
                                              CANADA LTD,, 4093887 CANADA LTD.,
                                              NYGARD INTERNATIONAL PARTNERSHIP,
                                              NYGARD PROPERTIES LTD., AND NYGARD
                                              ENTERPRISES LTD.



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    If the above terms and conditions contained, herein are acceptable to the Receiver, please execute
    and return a copy of this Term Sheet,


                                                 WHITE OAK FINANCIAL, LLC



                                                 Per:
                                                 Name:
                                                 Title:

                                                 SECOND AVENUE CAPITAL PARTNERS,
                                                LLC



                                                Per:
                                                Name:
                                                Title:




   We acknowledge and accept the within terms and conditions as of the 10th day of March, 2020.

                                                KICHTER ADVISORY GROUP INC, solely in
                                                its capacity as proposed court-appointed receiver of
                                                the assets, undertakings and properties of
                                                NYGARD HOLDINGS (USA) LIMITED,
                                                NYGARD INC., FASHION VENTURES, INC.,
                                                NYGARD NY RETAIL, LLC, 4093879
                                                CANADA LTD., 4093887 CANADA LTD.,
                                                NYGARD INTERNATIONAL PARTNERSHIP,
                                                NVGARD PROPERTIES LTD., AND NYGARD
                                                ENTERPRISES LTD,

                                                            / "N
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                                               Name:      A r-'Ty^A S
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                                                  SCHEDULE "A"




                                                                                              File No: CI •



                                          THE QUEEN'S BENCH
                                               Winnipeg Centre



        IN THE MATTER OF:             THE         APPOINTMENT               OF      A         RECEIVER
                                      PURSUANT            TO       SECTION          243       OF     THE
                                      BANKRUPTCY AND INSOLVENCY ACT, R.S.C., C.
                                      B-3, AS     AMENDED, AND SECTION 55                       OF THE
                                      COURT OF QUEEN'S BENCH ACT, C.C.S.M., C.
                                      C280, AS AMENDED
       BETWEEN:

                     WHITE OAK COMMERCIAL FINANCE, LLC

                                                                                                 Applicant

                                                    - and -



                     NYGARD HOLDINGS (USA) LIMITED, NYGARD INC., FASHION
                     VENTURES,        INC.,      NYGARD        NY     RETAIL,       LLC,        NYGARD
                     ENTERPRISES          LTD.,     NYGARD        PROPERTIES            LTD.,    4093879
                    CANADA         LTD.,        4093887       CANADA        LTD.,       and    NYGARD
                    TNTERNATIO NAL PARTNERSHIP.

                                                                                              Respondents

                                                  ORDER


                                               (Sale Approval)


         OSLER, HOSKIN & HARCOURT LLP                                 PITBLADO LLP
                Barristers and Solicitors                            2500-360 Main St.
           P.O. Box 50, 100 King Street West                       Winnipeg MB R3C4II6
                 1 First Canadian Place
                Toronto, ON M5X 1B8                                  Catherine Howden
                                                                    Tel:     204.956.3532
                  Marc Wasscrman                               Email: howden@pitblado.com
                    Tel: 416.862.4908
            Era ail: m wasserm an@os ler.com                               Eric Blouw
                                                                    Tel:    204.956.3512
                    Jeremy Backs                                 Email: blouw@pitblado.com
                  Tel: 416.862.4923
               Email: jdacks@osler.com




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                                                                                        File No: CI ®

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                                              Winniiic1 Centre




        THE HONOURABLE MR.                            )              •, THE •


                                                      )

        JUSTICE J.G. EDMOND                          )               DAY OF MARCH, 2020




        IN THE MATTF/R OF;            THE       APPOINTMENT             OF      A       RECEIVER
                                      PURSUANT            TO
                                                      SECTION   243 OF    THE
                                      BANKRUPTCY AND INSOLVENCY ACT, R.S.C., C.
                                      B-3, AS AMENDED, AND SECTION 55 OF THE
                                      COURT OF QUEEN'S BENCH ACT, C.C.S.M., C.
                                      C280, AS AMENDED
        BETWEEN:


                      WHITE OAK COMMERCIAL FINANCE, LLC


                                                                                          Applicant

                                                  - and -



                      NYGARD HOLDINGS (USA) LIMITED, NYGARD INC., FASHION
                      VENTURES,  INC., NYGARD NY RETAIL, LLC, NYGARD
                      ENTERPRISES LTD, NYGARD PROPERTIES LTD., 4093879
                      CANADA        LTD.,     4093887       CANADA      LTD.,     and    NYGARD
                      INTERNATIONAL PARTNERSHIP.


                                                                                        Respondents

                                      SALE APPROVAL ORDER




              THIS MOTION brought by Richter Advisory Group Inc., in Its capacity as court-

       appointed receiver (in such capacity, the "Receiver") without security, of all of the assets,

       undertakings and properties of Nygard Holdings (USA) Limited, Nygard Inc., Fashion




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            Ventures, Inc., Nygard NY Retail, LLC, 4093879 Canada Ltd., 4093887 Canada Ltd.,

         Nygard International Partnership, Nygard Properties Ltd. and Nygard Enterprises Ltd.

         (collectively and any of them, the "Debtors") for an Order, among other things, approving

         the transactions contemplated under a consulting agreement between © (the "Consultant")

         and the Receiver dated as of March     , 2020   (the "Consulting Agreement") and certain

         related relief, was heard this day at the Law Courts Building, 408 York Avenue, Winnipeg,

         Manitoba.


                  ON READING the Notice of Motion of the Receiver, the first report of the

        Receiver dated March •, 2020 and the Appendices thereto (the "First Report") and the

        Brief of Law of the Receiver, and on hearing the submissions of counsel for the Receiver,

        counsel for the Applicant and counsel for the Debtors, no one else appearing although duly-

        served as appears from the Affidavit of Service of » sworn March • , 2020, filed herein:


        SERVICE AND DEFINITIONS

        1.       THIS COURT ORDERS that the time for service of the Notice of Motion and the

        Motion Record is hereby abridged and validated so that this Motion is properly returnable

        today and hereby dispenses with further service thereof.


        2.       THIS COURT ORDERS that any capitalized term used and not defined herein

        shall have the meaning ascribed thereto in the Sale Guidelines (as defined below) and the

        Consulting Agreement (attached as Exhibit        to the First Report), as applicable.


       THE CONSULTING AGREEMENT


       3.        THIS COURT ORDERS that the Consulting Agreement,                including the sale

       guidelines attached hereto as Schedule "A" (the "Sale Guidelines"), and the transactions

       contemplated thereunder are hereby approved,         authorized and ratified and that the

       execution of the Consulting Agreement by the Receiver is hereby approved, authorized,

       and ratified with such minor amendments (to the Consulting Agreement, but not the Sale

       Guidelines) as the Receiver and the Consultant may agree to in writing. Subject to the

       provisions of this Order and the Receivership Order granted in these proceedings dated

       March 10, 2020 (the "Receivership Order"), the Receiver and the Consultant are hereby




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         authorized and directed to take any and all actions as may be necessary or desirable to

         implement the Consulting Agreement and each of the transactions contemplated therein.

         Without limiting tire foregoing, the Receiver and the Consultant are authorized to execute

         any other agreement, contract, deed or any other document, or take any other action, which

         could be required or be useful to give full and complete effect to the Consulting

        Agreement.


        THE SALE


        4.      THIS COURT ORDERS that the Consultant, with the assistance of the Receiver, is

        authorized to conduct the Sale in accordance with this Order, the Consulting Agreement

        and the Sale Guidelines and to advertise and promote the Sale within the Stores in

        accordance with the Sale Guidelines. If there is a conflict between this Order, the

        Consulting Agreement and the Sale Guidelines, the order of priority of documents to

        resolve such conflicts is as follows: (I) this Order; (2) the Sale Guidelines; and (3) the

        Consulting Agreement.


        5.     THIS COURT ORDERS that, subject to paragraph [10] of the Receivership Order,

        the Consultant, with the assistance of the Receiver, is authorized to market and sell the

        Merchandise and Nygard FF&E in accordance with the Sale Guidelines, free and clear of

        all liens, claims, encumbrances, security interests, mortgages, hypothecs, charges, trusts,

        deemed trusts, executions, levies, financial, monetary or other claims, whether or not such

       claims have attached or been perfected, registered or filed and whether secured, unsecured,

       quantified or unqualified, contingent or otherwise, whensoever and howsoever arising,

       and whether such claims arose or came into existence prior to the date of this Order or

       came into existence following the date of this Order, (in each case, whether contractual,

       statutory, arising by operation of law, in equity or otherwise) (ail of the foregoing,

       collectively "Claims"), including, without limitation the Receiver's Charge and the

       Receiver's Borrowing Charge (as such terms are defined in the Receivership Order) and

       any other charges hereafter granted by this Court in these proceedings (collectively, the

       "Charges"), and ail Claims, charges, security interests or liens evidenced by registrations

       pursuant to The Personal Property Security Act (Manitoba), The Real Property Act of




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            Manitoba, or any similar federal or provincial legislation (ail of such Claims, charges

            (including the Charges), security interests and liens collectively referred to herein as

            "Encumbrances"), which Encumbrances will attach instead to the proceeds of the Sale

            (other than amounts specified in paragraph 14 of this Order) in the same order and priority

            as they existed immediately prior to such Sale,


        6.         THIS COURT ORDERS that subject to the terms of this Order, the Receivership

        Order and the Sale Guidelines, or any greater restrictions in the Consulting Agreement or

        the Sale Guidelines, the Consultant shall have the right tc enter and use the Stores and all

        related store services and all facilities and all furniture, trade fixtures and equipment,

        including the Nygard FF&E, located at the Stores, and other assets of the Debtors as

        designated under the Consulting Agreement, for the purpose of conducting the Sale and for

        such purposes, the Consultant shall be entitled to the benefit of the stay of proceedings

        provided under the Receivership Order, as such stay of proceedings may be extended by

        further Order of the Court.


        7.        THIS COURT ORDERS that until the Sale Termination Date (as defined in the

        Consulting Agreement) for each Store (which shall in no event be later than #, 2020), the

        Consultant shall have access to the Stores in accordance with the applicable Leases (as

        such term is defined in the Sale Guidelines! and the Sale Guidelines on the basis that the

        Consultant is assisting the Receiver and the Receiver has granted the right of access to the

       Store to the Consultant. To the extent that the terms of the applicable Leases are in conflict

       with any term of this Order or the Sale Guidelines, the terms of this Order and the Sale

       Guidelines shall govern.


       8.         THIS COURT ORDERS that nothing in this Order shall amend or vary, or be

       deemed to amend or vary the terms of the Leases. Nothing contained in this Order or the

       Sale Guidelines shall be construed to create or impose upon the Receiver or the Consultant

       any additional restrictions not contained in the applicable Lease or other occupancy

       agreement.


       9.        THIS COURT ORDERS that, subject to and in accordance with the Consulting

       Agreement, the Sale Guidelines and this Order, the Consultant is authorized to advertise




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         and   promote    the   Sale,   without further   consent   of any   Person   (as   defined   in   the

         Receivership Order) other than the Receiver, as provided under the Consulting Agreement,

         or a Landlord (as defined in the Sale Guidelines), as provided under the Sale Guidelines.


         10.     THIS COURT ORDERS that until the Sale Termination Date, the Consultant shall

        ha ve the right to use, without interference by any intellectual property licensor, any of the

        Debtors' trade names, trademarks and logos relating to and used in connection with the

        operation of the Stores, as well as all licenses and rights granted to the Debtors* to use the

        trade names, trademarks, and logos of third parties, solely for the purpose of advertising

        and conducting the Sale in accordance with the terms of the Consulting Agreement, the

        Sale Guidelines, and this Order.


        CONSULTANT LIABILITY


        11.     THIS COURT ORDERS that the Consultant shall act solely as an independent

        consultant to the Receiver and that it shall not be liable for any claims against the Receiver

        or the Debtors, other than as expressly provided in the Consulting Agreement (including

        the Consultant's indemnity obligations thereunder) or the Sale Guidelines and, for greater

        certainty:


                (a)      the Consultant shall not be deemed to be an owner or in possession, care,

                         control or management of the Stores, of the assets located therein or

                         associated therewith or of the Debtors' employees located at the Stores or

                         any other property of the Debtors;



               (b)       the Consultant shall not be deemed to be an employer, or a joint or

                         successor employer or a related or common employer or payor within the

                         meaning of any legislation governing employment or labour standards or

                         pension benefits or health and safety or other statute, regulation or rule of

                         law or equity for any purpose          whatsoever, and   shall     not incur any

                         successorship liabilities whatsoever; and


               (c)    the Debtors shall        bear all responsibility for any    liability whatsoever

                      (including without limitation losses, costs, damages, fines, or awards)




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                        relating to claims of customers, employees and any other persons arising

                        from events occurring at the Stores during and after the term of the Sale, or

                        otherwise in connection with the Sale, except to the extent that such claims

                       are the result of events or circumstances caused or contributed to by the

                       gross negligence or wilful misconduct of the Consultant, its employees,

                       agents    or other representatives, or otherwise in accordance with       the

                       Consulting Agreement.


         12.    THIS COURT ORDERS that to the extent any Landlord may have a claim against

        the Debtors arising solely out of the conduct of the Consultant in conducting the Sale for

        which the Debtors and/or the Receiver has claims against the Consultant under the

        Consulting Agreement, the Debtors and/or the Receiver, as applicable, shall be deemed to

        have assigned such claims free and clear to the applicable Landlord (the "Assigned

        Landlord Rights"); provided that each such Landlord shall only be permitted to advance

        each such claims against the Consultant if written notice, including the reasonable details

        of such claims, is provided by such Landlord to the Consultant and the Receiver during the

        period from the Sale Commencement Date to the date that is thirty (30) days following the

        Sale Termination Date, provided however that the Landlords shall be provided with access

        to the Stores to inspect the Stores within fifteen (15) days following the Sale Termination

        Date.


        CONSULTANT AN UNAFFECTED CREDITOR


        13.     THIS COURT ORDERS that the Receiver is hereby authorized and directed, in

        accordance with the Consulting Agreement, to remit all amounts that become due to the

        Consultant thereunder.


        14.     THIS COURT ORDERS that no Encumbrances shall attach to any amounts

       payable or to be credited or reimbursed to, or retained by, the Consuitant pursuant to the

       Consulting Agreement, including, without limitation, any amounts to be reimbursed by the

       Receiver to the Consultant pursuant to the Consulting Agreement, and at all times the

       Consultant will retain such amounts, free and clear of all Encumbrances, notwithstanding




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           any enforcement or other process or Claims, all in accordance with the Consulting

           Agreement.


           1 5.     THIS COURT ORDERS that notwithstanding:



                   (a)    the pendency of these proceedings;


      !
                   (b)    application for a bankruptcy order now or hereafter issued pursuant to the

                          Bankruptcy and Insolvency Act ("BiA") in respect of F21 Canada, or any

                          bankruptcy order made pursuant to any such applications;


                   (c>    any assignment in bankruptcy made in respect, of the Debtors;


                   (d)    the provisions of any federal or provincial statute; or



                  <e)     any negative covenants, prohibitions or other similar provisions with

                          respect to borrowings, incurring debt or the creation of encumbrances,

                          contained    in   any existing   loan documents,   lease,   mortgage, security

                          agreement,    debenture,   sublease, offer to   lease or other document or

                          agreement to which one or more of the Debtor(s) arc a party;


                  the Consulting Agreement and the transactions and actions provided for and

                  contemplated therein, including without limitation, the payment of amounts due to

                  the Consultant and the Assigned Landlord Rights shall be binding on any trustee in

                  bankruptcy that may be appointed in respect of any one or more of the Debtors and

                  shall not be void or voidable by any Person, including any creditor of the Debtors,

                  nor shall they, or any of them, constitute or be deemed to be a preference,

                  fraudulent conveyance, transfer at undervalue or other challengeable reviewable

                  transaction, under the BIA or any applicable         law, nor shall they constitute

                  oppressive or unfairly prejudicial conduct under any applicable law.


          OTHER


          16.     THIS COURT ORDERS that the Receiver is authorized and permitted to transfer

          to the Consultant such personal information of the Debtors in the Receiver's custody and




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         contro! solely for the purposes of assisting with and conducting the Sale and only to the

         extent necessary for such purposes.


         GENERAL


         17.    THIS COURT ORDERS that this Order shall have full force and effect in all

        provinces and territories in Canada.


         18.    THIS COURT HEREBY REQUESTS the aid and recognition of any Court,

        tribunal, regulatory or administrative bodies, having jurisdiction in Canada or in the United

        States of America, to give effect to this Order and to assist the Consultant, the Receiver

        and their respective agents in carrying out the terms of this Order. All courts, tribunals,

        regulatory and administrative bodies are hereby respectfully requested to make such orders

        and to provide such assistance to the Consultant and the Receiver, as an officer of this

        Court, as may be necessary or desirable to give effect to this Order, to grant representative

        status to the Receiver in any foreign proceeding, or to assist the Consultant and the

        Receiver and their respective agents in carrying out the terms of this Order.


        March • , 2020



        I, JEREMY DACKS, OF THE FIRM OF OSLER, HOSK1N & HARCOURT LLP,
        HEREBY CERTIFY THAT I HAVE RECEIVED THE CONSENTS AS TO FORM OF'
        THE FOLLOWING PARTIES:



        AS DIRECTED BY THE HONOURABLE JUSTICE j.G. EDMOND




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                                   SCHEDULE "A"
                                 SALE GUIDELINES
                                  (SEE ATTACHED)




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                                                SALE GUIDELINES


   The following procedures shall apply to any Sales, including those to be held at retail stores (the
   "Stores") of Nygard Holdings (USA) Limited, Nygard Inc., Fashion Ventures, Inc., Nygard NY
   Retail, LLC, Nygard Enterprises Ltd, Nygard Properties Ltd., 4093879 Canada Ltd., 4093887
   Canada Ltd., or Nygard International Partnership (collectively, "Nygard"). Terms capitalized but
   not defined in these Sale Guidelines have the meanings ascribed to them in the Consulting
   Agreement (as defined below).

   1.     Except as otherwise expressly set out herein, and subject to: (i) the Order of the Queen's
          Bench (Winnipeg Centre) (the "Court") dated March ®, 2020 approving the Consulting
          Agreement between © (the "Consultant") and Richter Advisory Group Inc., in its capacity
          as   receiver   of Nygard      (the   "Receiver")    dated   March   ®,   2020    (the   "Consulting
         Agreement") and the transactions contemplated thereunder (the "Approval Order");                  (ii)
         any further Order of the Court; or (iii) any subsequent written agreement between the
         Receiver    and    applicable    landlord(s)   of    Nygard   (individually,   a   "Landlord"    and,
         collectively, the "Landlords") and approved by the Consultant, the Sale shall be conducted
         in accordance with the terms of the applicable leases or other occupancy agreements for
         each of the affected     Stores (individually, a "Lease" and, collectively, the "Leases").
         However, nothing contained herein shall be construed to create or impose upon the
         Receiver, Nygard or the Consultant any additional restrictions not contained in the
         applicable Lease or other occupancy agreement.

  2.     The Sale shall be conducted so that each of the Stores remain open during their normal
         hours of operation provided for in the respective Leases for the Stores until the applicable
         premises vacate date for each Store under the Consulting Agreement (the "Vacate Date"),
         and in all cases no later than ®, 2020.

  3.     The Sale shall be conducted in accordance with applicable federal, provincial and municipal
         laws, unless otherwise ordered by the Court.

  4.     All display and hanging signs used by the Consultant in connection with the Sale shall be
         professionally produced and ail hanging signs shall be hung in a professional manner,
         Notwithstanding anything to the contrary contained in the Leases, the Consultant may
         advertise the Sale at the Stores as a "everything on sale", "everything must go", "store
         closing" or similar theme sale at the Stores (provided however that no signs shall advertise
         the Sale as a "bankruptcy", a "liquidation" or a "going out of business" sale, it being
         understood that the French equivalent of "clearance" is "liquidation" and is permitted to be
         used). Forthwith upon request, the Consultant shall provide the proposed signage packages
         along with proposed dimensions by e-tnail or facsimile to the applicable Landlords or to
         their counsel of record and the applicable Landlord shall notify the Consultant of any
         requirement for such signage to otherwise comply with the terms of the Lease and/or the
         Sale Guidelines and where the provisions of the Lease conflicts with these Sale Guidelines,
        these Sale Guidelines shall govern. The Consultant shall not use neon or day-glow signs or
        arty handwritten signage (save that handwritten "you pay" or "topper" signs may be used). If
        a Landlord is concerned with "Store Closing" signs being placed in the front window of a
        Store or with the number or size of the signs in the front window, the Receiver, the
        Consultant and the Landlord will work together to resolve the dispute. Furthermore, with




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         respect to enclosed mall Store locations without a separate entrance from the exterior of the
         enclosed mall, no exterior signs or signs in common areas of a mall shall be used unless
         explicitly permitted by the applicable Lease,  In addition, the Consultant shall be permitted
         to utilize exterior banners/signs at stand alone or strip mall Stores or enclosed mall Store
         locations with a separate entrance from the exterior of the enclosed mall; provided, however,
         that: (i) no signage in any other common areas of a mall shall be used; and (ii) where such
         banners are not explicitly permitted by the applicable Lease and the Landlord requests in
         writing that banners are not to be used, no banners shall be used absent further Order of the
         Court, which may be sought on an expedited basis on notice to the Service List (as deftned
         in the Receivership Order, defined below). Any banners used shall be located or hung so as
        to make clear that the Sale is being conducted only at the affected Store and shall not be
        wider than the premises occupied by the affected Store. All exterior banners shall be
        professionally hung and to the extent that there is any damage to the facade of the premises
        of a Store as a result of the hanging or removal of the exterior banner, such damage shall be
        professionally repaired at the expense of the Consultant. The Consultant shall not utilize any
        commercial trucks to advertise the Sale on the Landlord's property or mall ring roads,

   5    The Consultant shall be permitted to utilize sign walkers and street signage; provided,
        however, such sign walkers and street signage shall not be located on the shopping centre or
        mall premises.

  6.    The Consultant shall be entitled to include additional merchandise in the Sale; provided that
        (a) the additional merchandise is currently in the possession of the Receiver or Nygard or
        has previously been ordered by or on behalf of Nygard and is currently in transit to Nygard;
        and (b) the additional merchandise is of like kind and category and no lessor quality to the
        Merchandise, and consistent with any restriction on usage of the Stores set out in the
        applicable Leases.

  7.    Conspicuous signs shall be posted in the cash register areas of each Store to the effect that
        all sales are "final" and customers with any questions or complaints are to call Nygard's
        hotline number.

  8.    The Consultant shall not distribute handbills, leaflets or other written materials to customers
        outside of any of the Stores on Landlord's property, unless explicitly permitted by the
        applicable Lease or, if distribution is customary in the shopping cefttre in which the Store is
        located. Otherwise, the Consultant may solicit customers in the Stores themselves. The
       Consultant shall not use any giant balloons, flashing lights or amplified sound to advertise
       the Sale or solicit customers, except as explicitly permitted under the applicable Lease or
       agreed to by the Landlord.


  9.   At the conclusion of the Sale in each Store, the Consultant and the Receiver shall arrange
       that the premises for each Store are in "broom-swept" and clean condition, and shall arrange
       that the Stores are in the same condition as on the commencement of the Sale, ordinary wear
       and tear excepted. No property of any Landlord of a Store shall be removed or sold during
       the Sale. No permanent fixtures (other than Nygard FF&E (as defined below) for clarity)
       may be removed without the Landlord's written consent unless otherwise provided by the
       applicable Lease and in accordance with the Order of the Court dated March 10, 2020
       whereby, among other things, the Receiver was appointed (the "Receivership Order") and
       the Approval Order. Any trade fixtures or personal property left in a Store after the




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          applicable Vacate Date shall be deemed abandoned, with the applicable Landlord having the
          right to dispose of the same as the Landlord chooses, without any liability whatsoever on the
          part of the Landlord. Nothing in this paragraph shall derogate from the Consultant's
          obligations under the Consulting Agreement.

   10.    Subject to the terms of paragraph 8 above, the Consultant shall sell furniture, fixtures and
          equipment owned by Nygard ('"Nygard FF&E") and located in the Stores during the Sale,
          For greater certainty, Nygard FF&E does not include any portion of the Stores' HVAC,
          sprinkler, fire suppression, or fire alarm systems. The Consultant may advertise the sale of
          Nygard FF&E consistent with these Sale Guidelines on the understanding that the Landlord
          may require such signs to be placed in discreet locations within the Stores reasonably
          acceptable to the Landlord. Additionally, the purchasers of any Nygard FF&E sold during
          the Sale shall only be permitted to remove the Nygard FF&E either through the back
          shipping areas designated by the Landlord or through other areas after regular Store business
          hours or, through the front door of the Store during Store business hours if the Nygard
          FF&E can fit in a shopping bag, with Landlord's supervision as required by the Landlord
          and in accordance with the Receivership Order and the Approval Order. The Consultant
         shall repair any damage to the Stores resulting from the removal of any Nygard FF&E by
         the Consultant or by any third party purchasers of Nygard FF&E from Consultant.

   11.   The Consultant shall not make any alterations to interior or exterior Store lighting, except as
         authorized pursuant to the affected Lease. The hanging of exterior banners or other signage,
         where permitted in accordance with the terms of these Sale Guidelines, shall not constitute
         an alteration to a Store,

  12.    The Receiver hereby provides notice to the Landlords of Nygard of* the Consultant's
         intention to sell and remove Nygard FF&E from the Stores.          The Consultant shall make
         commercially reasonable efforts to arrange with each Landlord represented by counsel on
         the Service List, and with any other Landlord that so requests, a walk-through with the
         Consultant to identify the Nygard FF&E subject to the Sale. The relevant Landlord shall be
         entitled to have a representative present in the applicable Stores to observe such removal. If
         the Landlord disputes the Consultant's entitlement to sell or remove any Nygard FF&E
         under the provisions of the Lease, such Nygard FF&E shall remain on the premises and shall
         be dealt with as agreed between the Receiver, the Consultant and such Landlord, or by
         further Order of the Court upon application by Receiver on at least two (2) days' notice to
         such Landlord,

  J3     The Consultant and its agents and representatives shall have the same access rights to the
         Stores as Nygard and/or the Receiver under the terms of the applicable Lease and the
         Receivership Order, and the Landlords shall have the rights of access to the Stores during
         the Sale provided for in the applicable Lease (subject, for greater certainty, to any applicable
         stay of proceedings).

  14.    The Receiver and the Consultant shall not conduct any auctions of Merchandise or Nygard
         FF&E at any of the Stores,

  IS.    The Consultant and the Receiver shall each designate a party to be contacted by the
         Landlords should a dispute arise concerning the conduct of the Sale. The initial contact
         person for the Consultant shall be • of • who may be reached by phone at • or email at •.




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         If the parties are unable to resolve the dispute between themselves, each of the Landlord and
         the Receiver shall have the right to schedule a "status hearing" before the Court on no less
         than two (2) days written notice to the other parties, during which time the Consultant shall
         cease all activity in dispute other than activity expressly permitted herein, pending
         determination of the matter by the Court; provided, however, subject to paragraph 4 of these
         Sale Guidelines, if a banner has been hung in accordance with these Sale Guidelines and is
         the subject of a dispute, the Consultant shall not be required to lake any such banner down
         pending determination of any dispute.

   16.   Nothing herein or in the Consulting Agreement is, or shall be deemed to be a consent by any
         Landlord to the sale, assignment or transfer of any Lease, or shall, or shall be deemed to. or
         grant to the Landlord any greater rights than already exist under the terms of any applicable
         Lease.

   17.   These Sale Guidelines may be amended by written agreement between the Consultant, the
         Receiver and the applicable Landlord, or upon further order of the Court.




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                                  Exhibit B

                               Proposed Order
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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK

    In re:                                                                  Chapter 15

    NYGARD HOLDINGS (USA) LIMITED, et al.,1                                 Case No. 20-10828 (___)

                     Debtors in a Foreign Proceeding.                       Joint Administration Requested


             [PROPOSED] ORDER RECOGNIZING FOREIGN MAIN PROCEEDING
                               AND RELATED RELIEF

             Upon the Verified Petition Under Chapter 15 for Recognition of a Foreign Main

Proceeding and Related Relief [Dkt 2] (together with the Forms of Voluntary Petition [Dkt 1],

collectively, the “Petition”)2 of Richter Advisory Group Inc. (“Richter”), solely in its capacity as

court-appointed receiver (and not in its personal or corporate capacity) (the “Receiver”) and

authorized foreign representative (the “Foreign Representative”) of:

             (a) Nygard Holdings (USA) Limited (“Holdings”); Nygard Inc. (“Inc.”); Nygard NY

Retail, LLC (“NY Retail”); and Fashion Ventures, Inc. (“Fashion”) (collectively, the “U.S.

Debtors”), and

             (b) Nygard International          Partnership (“International”);           Nygard Properties Ltd.

(“Properties”); Nygard Enterprises Ltd. (“Enterprises”); 4093887 Canada Ltd. (“4093887”); and

4093889 Canada Ltd. (“4093889”) (collectively, the “Canadian Debtors,” and together with the

U.S. Debtors, the “Debtors”), each of which was placed in a receivership on March 18, 2020 by



1
      The Debtors in these Chapter 15 cases, along with the last four digits of each Debtor’s U.S. Federal Employer
      Identification Number (“FEIN”) or Canada Revenue Agency Business Registration Number (“CRA”) , are:
      Nygard Holdings (USA) Limited (FEIN 3048), Nygard Inc. (FEIN 0509), Nygard NY Retail, LLC (FEIN 1672),
      Fashion Ventures, Inc. (FEIN 0956), Nygard International Partnership (FEIN 1535), Nygard Properties Ltd.
      (CRA 0003), Nygard Enterprises Ltd. (FEIN 7127), 4093887 Canada Ltd. (FEIN 1534), 4093879 Canada Ltd.
      (FEIN 1533).
2
      Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Petition. References
      to sections and chapters are references to sections and chapters of the Bankruptcy Code unless otherwise stated.
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order (the “Receivership Order”) of the Court of Queen’s Bench Manitoba (the “Canadian Court”),

Court File No. CI 20-01-26627 (the “Canadian Proceeding”), seeking entry of an order pursuant

to sections 105(a), 1504, 1507, 1509, 1515, 1517, 1520, and 1521 of Title 11 of the United States

Code (the “Bankruptcy Code”), granting recognition of the Foreign Proceeding as a foreign main

proceeding, and granting related relief;3 and

        Upon the record of this case, the hearing held on [•] [•], 2020 (the “Hearing”) to consider

(i) the Petition and (ii) the relief requested in the Motion of the Receiver as Authorized Foreign

Representative for Entry of an Order Granting Provisional Relief Pursuant to Sections 105(a) and

1519 of the Bankruptcy Code; and

        Upon the Court’s review and consideration of the Petition and the Benchaya Declaration,

and the Court having found and determined that the relief sought in the Petition is consistent with

the purposes of Chapter 15 and is in the best interests of the Debtors and their creditors; and after

due deliberation and sufficient cause appearing therefor; and for the reasons stated on the record

at the Hearing:

        IT IS HEREBY FOUND AND DETERMINED:4

        A.        This Court has jurisdiction to consider the Petition and the relief requested therein

pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the

United States District Court for the Southern District of New York dated as of January 31, 2012,




3
    References to sections and chapter are references to sections and chapters of the Bankruptcy Code unless
    otherwise stated.
4
    The findings and conclusions set forth herein and on the record of the Hearing constitute this Court’s findings of
    fact and conclusions of law pursuant to Rule 52 of the Federal Rules of Civil Procedure, as made applicable herein
    by Rules 7052 and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). To the extent
    any of the findings of fact herein constitute conclusions of law, they are adopted as such. To the extent any of the
    conclusions of law herein constitute findings of fact, they are adopted as such .



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Reference M-431, In re Standing Order of Reference Re: Title 11, 12 Misc. 00032 (S.D.N.Y. Feb.

1, 2012) (Preska, C.J.).

       B.      The Petition and the relief requested therein is a core proceeding pursuant to 28

U.S.C. § 157(b)(2)(P), and this Court may enter a final order consistent with Article III of the

United States Constitution.

       C.      Venue is proper before this Court pursuant to 28 U.S.C. § 1410(1) and (3).

       D.      Good, sufficient, appropriate, and timely notice of the filing of the Petition and the

Hearing has been given by the Foreign Representative, pursuant to Bankruptcy Rules 1011(b) and

2002(q) and the Order Scheduling Hearing on Chapter 15 Petition and Related Relief and

Specifying Form and Manner of Service of Notice [Dkt [•]] to: (i) the United States Trustee for the

Southern District of New York (Attn: Paul K. Schwartzberg, Esq.); (ii) the Debtors; (iii) Peter J.

Nygard; (iv) all persons or bodies authorized to administer foreign proceedings of the Debtors,

including the Canadian Proceeding; (v) all entities against whom provisional relief is being sought

under section 1519 of the Bankruptcy Code; (vi) all parties to litigation pending in the United

States to which any of the Debtors is a party at the time of the filing of the Petition; and (vii) all

parties that have filed a notice of appearance in these chapter 15 cases. In light of the nature of

the relief requested and prior orders of this Court, no other or further notice is required.

       E.      No objections or responses were filed that have not been overruled, withdrawn, or

otherwise resolved.

       F.      Each Debtor has property located in this District, and therefore, each Debtor is

“eligible” to be a debtor in these chapter 15 cases pursuant to sections 109 and 1501.

       G.      The Canadian Proceeding is a “foreign proceeding” as such term is defined in

section 101(23).




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       H.      The Canadian Proceeding is pending in Canada, which is where the Debtors have

their “center of main interests” as referred to in section 1517(b)(1).       As such, the Canadian

Proceeding is a “foreign main proceeding” pursuant to section 1502(4), is entitled to recognition

as a foreign main proceeding pursuant to section 1517(b)(1), and is entitled to all relief afforded

to foreign main proceedings under section 1520. The Foreign Representative is a “person” as such

term is defined in section 101(41) and has been duly appointed and designated as the “foreign

representative” of the Debtors as such term is defined in section 101(24).

       I.      These chapter 15 cases were properly commenced pursuant to sections 1504 and

1509, and the Petition satisfies the requirements of section 1515.

       J.      The Foreign Representative and each Debtor, as applicable, is entitled to the

additional assistance and discretionary relief under sections 1507 and 1521 (including application

of section 365) requested in the Petition.

       K.      The Foreign Representative has demonstrated that application of section 365, as

made applicable by sections 105(a), 1507 and 1521(a)(7), is necessary to enable the Foreign

Representative or any of the Debtors to assume or reject a contract or compel a contract

counterparty to perform under a contract. Absent application of section 365, there is a material

risk that one or more of the Debtors’ contract counterparties may terminate agreements or

discontinue performance, which could impose severe economic consequences on the Debtors’

estates and interfere with liquidation efforts.

       L.      The relief granted herein is necessary and appropriate, in the interests of the public

and of international comity, not inconsistent with the public policy of the United States, warranted

pursuant to sections 105(a), 1504, 1507, 1509, 1515, 1517, 1520 and 1521 and will not cause

hardship to any party in interest. To the extent that any hardship or inconvenience may result to




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such parties, it is outweighed by the benefits of the requested relief to the Foreign Representative,

the Debtors, their creditors and other parties in interest.

        M.      The relief granted herein is necessary to effectuate the purposes of chapter 15 and

to protect the Debtors and the interests of their creditors and all parties in interest.

        N.      In accordance with section 1507(b), the relief granted will reasonably assure: (i) the

just treatment of all holders of claims against or interests in the Debtors’ property; (ii) the

protection of claim holders in the United States against prejudice and inconvenience in the

processing of claims in the Canadian Proceeding; (iii) the prevention of preferential or fraudulent

dispositions of property of the Debtors; and (iv) the distribution of proceeds of the Debtors’

property substantially in accordance with the order prescribed in the Bankruptcy Code.

        O.      All creditors and other parties in interest, including the Debtors, are sufficiently

protected in the grant of the relief ordered hereby in compliance with section 1522(a).

        BASED ON THE FOREGOING FINDINGS OF FACT AND AFTER DUE

DELIBERATION AND SUFFICIENT CAUSE APPEARING THEREFOR, IT IS HEREBY

ORDERED:

        1.      The Petition and the relief requested are granted, and any objections or responses

thereto that have not been withdrawn or resolved are overruled with prejudice.

        2.      The Canadian Proceeding is recognized as a “foreign main proceeding” under

sections 1517(a) and 1517(b)(1).

        3.      The Receivership Order, including          any extensions or amendments thereto

authorized by the Canadian Court, is hereby enforced on a final basis and given full force and

effect in the United States (except as otherwise expressly provided herein).




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       4.      The Foreign Representative is recognized as the “foreign representative” as defined

in section 101(24).

       5.      All relief and protection afforded to a foreign main proceeding under section 1520

is hereby granted to the Canadian Proceeding, the Foreign Representative, the Debtors, and their

assets located in the United States.

       6.      Sections 362 and 365 shall hereby apply with respect to the Debtors and the

property of the Debtors that is located within the territorial jurisdiction of the United States. All

entities (as defined in section 101(15)) other than the Foreign Representative and its authorized

representatives and agents are hereby permanently enjoined from:

            (a) executing against any asset of any Debtor;

            (b) commencing or continuing, including issuing or employing process, of a judicial,

               quasi-judicial, administrative, regulatory, arbitral, or other action or proceeding, or

               to recover a claim, including, without limitation, any and all unpaid judgments,

               settlements or otherwise against any Debtor, its property, or any direct or indirect

               transferee of or successor to any property of any Debtor, or any property of such

               transferee or successor, or the seeking of any discovery related to any of the

               foregoing, which in each case is in any way inconsistent with, relates to, or would

               interfere with, the administration of the Debtors’ estates in the Canadian Proceeding

               or Canadian law;

            (c) taking or continuing any act to create, perfect or enforce a lien or other security

               interest, setoff or other claim against any Debtor or any of its property or proceeds

               thereof, which in each case is in any way inconsistent with, relates to, or would




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           interfere with, the administration of the Debtors’ estates in the Canadian Proceeding

           or Canadian law;

        (d) transferring, relinquishing or disposing of any property of any Debtor to any entity

           other than the Foreign Representative and its authorized representatives and agents

           or taking or continuing any act to obtain possession of, commingle, or exercise

           control over, such property, which in each case is in any way inconsistent with,

           relates to, or would interfere with, the administration of the Debtors’ estates in the

           Canadian Proceeding or Canadian law;

        (e) commencing or continuing in any manner, directly or indirectly, an individua l

           action or proceeding concerning any Debtor’s assets, rights, obligations           or

           liabilities, or to resolve any dispute arising out of or relating to the Canadian

           Proceeding or Canadian law;

        (f) declaring or considering the filing of the Canadian Proceeding, the Receivership

           Order or any of these chapter 15 cases a default or event of default under any

           agreement, contract or arrangement; and

        (g) terminating, modifying, refusing to perform, or otherwise accelerating obligations

           or exercising remedies under any contract with any of the Debtors on the basis of

           (i) the insolvency or financial condition of the Debtors at any time before the

           closing of these cases; (ii) the commencement of the Canadian Proceeding, the

           entry of the Receivership Order or the commencement of these chapter 15 cases; or

           (iii) the appointment of, and taking possession by, the Foreign Representative of

           any asset or contract of any Debtor;




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provided, in each case, that such injunctions shall be effective solely within the territorial

jurisdiction of the United States.

           7.    Sections 1521(a)(1)-(3) and (5)-(7) shall apply with respect to the Debtors and the

property of the Debtors that is located within the territorial jurisdiction of the United States.

           8.    Pursuant to section 1520(a)(3), the Foreign Representative is entitled to operate the

Debtors’ businesses and administer their assets, including without limitation, all bank accounts

and accounts receivable. All banks and financial institutions at which the Debtors maintain bank

accounts or other accounts are authorized and directed to: (i) honor the Foreign Representative’s

instructions with respect to accessing any such accounts; and (ii) accept, hold, or permit

withdrawal, transfer, or other disposition of funds in accordance with the Foreign Representative’s

instructions.

           9.    Subject to sections 1520 and 1521, the Canadian Proceeding and the Receivership

Order, and the transactions consummated or to be consummated thereunder, shall be granted

comity and given full force and effect in the United States to the same extent that they are given

effect in Canada, and each is binding on all creditors of the Debtors and their successors and

assigns.

           10.   Under section 1521(a)(6), all prior relief granted to the Debtors or the Foreign

Representative by this Court under section 1519(a) shall be extended and the Order Granting

Motion of the Foreign Representative for Provisional Relief Pursuant to Sections 105(a) and 1519

[Dkt [_]] shall remain in full force and effect, notwithstanding anything to the contrary contained

therein.

           11.   No action taken by the Foreign Representative, any Debtor or their respective

agents, representatives, advisors, or counsel, in preparing, disseminating,             applying    for,




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implementing or otherwise acting in furtherance of the Canadian Proceeding, the documents

contemplated thereunder, this Order, the chapter 15 cases, any further order for additional relief in

the chapter 15 cases, or any adversary proceedings in connection therewith, will be deemed to

constitute a waiver of the limit on jurisdiction afforded such persons under sections 306 or 1510.

       12.     No party shall incur any liability for following, in good faith, the terms of this Order

(whether by acting or refraining from acting).

       13.     Notwithstanding anything to the contrary contained herein, this Order shall not, and

shall not be construed as: (i) enjoining the police or regulatory act of a governmental unit, including

a criminal action or proceeding, to the extent not stayed under section 362; (ii) staying the exercise

of any rights that section 362(o) does not allow to be stayed; and (iii) staying the Class Action

Lawsuit until a judgment is achieved, after which the Class Action Lawsuit plaintiffs, acting in

any capacity including as judgment creditors, shall be stayed from any efforts to record, collect, or

otherwise enforce any judgment they may obtain. In furtherance of subparagraph (iii) above,

paragraph 13 of the Receivership Order is incorporated by reference.

       14.     The Foreign Representative, the Debtors, and their respective agents are authorized

to serve or provide any notices required under the Bankruptcy Rules or local rules of this Court.

       15.     Notwithstanding any provision in the Bankruptcy Code or the Bankruptcy Rules to

the contrary, (i) this Order shall be effective and enforceable immediately upon its entry, (ii) the

Foreign Representative is not subject to any stay in the implementation, enforcement, or realization

of the relief granted in this Order and (iii) this Order shall constitute a final order within the

meaning of 28 U.S.C. § 158(a).

       16.     The Foreign Representative and its agents are authorized and empowered to take

all actions necessary to effectuate the relief granted under this Order.




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       17.    This Court shall retain jurisdiction      with respect to the implementation,

enforcement, amendment or modification of this Order.

Dated: March ____, 2020
       New York, New York

                                           _______________________________________
                                           UNITED STATES BANKRUPTCY JUDGE




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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK

    In re:                                                                  Chapter 15

    NYGARD HOLDINGS (USA) LIMITED, et al.,1                                 Case No. 20-10828 (___)

                     Debtors in a Foreign Proceeding.                       Joint Administration Requested



                       DECLARATION OF FOREIGN REPRESENTATIVE
                  PURSUANT TO SECTION 1515(C) OF THE BANKRUPTCY CODE

             I, Gilles Benchaya, on behalf of Richter, pursuant to 28 U.S.C. § 1746, hereby declare

under penalty of perjury under the laws of the United States of America, as follows:

             1.     I am a Senior Vice President in the Toronto, Ontario office of Richter Advisory

Group Inc. (“Richter”). Richter, is the court-appointed receiver (the “Receiver”) and authorized

foreign representative (the “Foreign Representative”)2 of:



1
      The Debtors in these Chapter 15 cases, along with the last four digits of each Debtor’s U.S. Federal Employer
      Identification Number (“FEIN”) or Canada Revenue Agency Business Registration Number (“CRA”), are:
      Nygard Holdings (USA) Limited (FEIN 3048), Nygard Inc. (FEIN 0509), Nygard NY Retail, LLC (FEIN
      1672), Fashion Ventures, Inc. (FEIN 0956), Nygard International Partnership (FEIN 1535), Nygard Properties
      Ltd. (CRA 0003), Nygard Enterprises Ltd. (FEIN 7127), 4093879 Canada Ltd. (FEIN 1533), 4093887 Canada
      Ltd. (FEIN 1534).
2
      Richter acts in these chapter 15 cases solely in its capacity as Receiver and Foreign Representative.
20-10828-smb
      Case 1:20-cv-01288-ER
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               (a)     Nygard Holdings (USA) Limited (“Holdings”);
                       Nygard Inc. (“Inc.”);
                       Nygard NY Retail, LLC (“NY Retail”); and
                       Fashion Ventures, Inc. (“Fashion”) (collectively, the “U.S. Debtors”); and
               (b)     Nygard International Partnership (“International”);
                       Nygard Properties Ltd. (“Properties”);
                       Nygard Enterprises Ltd. (“Enterprises”);
                       4093887 Canada Ltd. (“4093887”); and
                      4093889 Canada Ltd. (“4093889”) (collectively, the “Canadian Debtors,”
and together with the U.S. Debtors, the “Debtors”).

       2.      Each of the Debtors was placed in a receivership on March 18, 2020 by order (the

“Receivership Order”) of the Court of Queen’s Bench Manitoba (the “Canadian Court”), Court

File No. CI 20-01-26627 (the “Canadian Proceeding”), entered under the Courts of Queen’s Bench

Act of the Province of Manitoba and the Bankruptcy and Insolvency Act of Canada (the “BIA”).

       3.      I respectfully submit this statement, as required by 11 U.S.C. § 1515(c), in support

of the verified petition filed herewith seeking recognition by this Court of the Canadian Proceeding

as a “foreign main proceeding” (as defined in 11 U.S.C. § 1502(4)).

       4.      To the best of my knowledge, the Canadian Proceeding is the only known pending

“foreign proceeding” (as defined in 11 U.S.C. § 101(23), regarding the Debtors.

       5.      I certify under penalty of perjury that each of the statements in this declaration is

true and correct.

Dated: March 18, 2020
       New York, New York             RICHTER ADVISORY GROUP INC.
                                      (solely in its capacity as Receiver and Foreign
                                      Representative for the Debtors)

                                      By: /s/ Gilles Benchaya
                                      Gilles Benchaya, Senior Vice President




                                                 2
